              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 1 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f13-nfq6
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7123
CA



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  CA, 
92602
Organization: National Partnership for Women & Famiies


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381584
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f13-rq4d
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7124
UT



                                      Submitter Information
Name: Maria Lisonbee
Address:
  Salt Lake City, 
UT, 
84106
Email: abuelamaria@hotmail.com
Organization: None


                                         General Comment
Please review information regarding health coverage for women, as it should be covered in full including BASIC
medications needed such as the pill and other form of protection. Employers should not discriminate against
women employees by witholding insurance coverage. Women are most affected by this discrimination. This
should not be given as a right: they hire child bearing age women, that health coverage should be included in the
health insurance.




                                                                                                 381585
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f13-egla
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7125
CA



                                      Submitter Information
Name: Jon Anderholm
Address:
  Cazadero, 
CA, 
95421
Email: xunbio@hotmail.com
Organization: Xun Biosphere Project


                                         General Comment
All of the contraceptive services.... need to be covered under ACA




                                                                                        381586
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f13-agzr
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7126
VA



                                    Submitter Information
Name: Kathy Fletcher
Address:
  Fuquay Varina, 
VA, 
27526
Email: kfletch01@msn.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Fletcher-K_2014-10-15_22578700




                                                                                        381587
    Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 5 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381588
    Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 6 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Kathy Fletcher
1401 Dairy Glen Drive
Fuquay Varina , VA 27526

919-285-4139




                                                                               381589
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7127
CA



                                      Submitter Information
Name: Neil Brydon
Address:
  CA, 
92103
Organization: NA


                                         General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.




                                                                                                381590
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7128
NH



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  NH, 
03842
Organization: NA


                                         General Comment
Unless Hobby Lobby is going to divest from all stocks of companies that are involved abortions, they are
hypocrites. Millions of women, myself included, use birth control medication for reasons having nothing
whatsoever to do with birth control. We use it to regulate extreme periods, to maintain hormonal balances during
menopause, and to manage other issues related to women's health. No one's employer should have the right to
dictate medical decisions based on their personal preferences. That is a choice that must be left to doctors and
patients.




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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7129
CA



                                      Submitter Information
Name: Nancy Hiestand
Address:
  CA, 
95616-3523
Organization: NA


                                          General Comment
I support the administrations efforts to ensure that women have coverage for the full range of contraceptive
methods without copays, no matter where they work.




                                                                                                 381592
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
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                                                                          Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7130
WI



                                    Submitter Information
Name: Alexa Hollywood
Address:
  Milwaukee, 
WI, 
53211
Email: a.hollywood@sbcglobal.net
Organization: NA


                                        General Comment
I believe That corporations do not have the right to decide Whether or not a woman employed by them should
have the added burden of paying for contraception.




                                                                                             381593
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7131
TX



                                     Submitter Information
Name: Max Sped
Address:
  Austin, 
TX, 
78728-4128
Email: max.sped@hotmail.com
Organization: National Partnership


                                         General Comment
Females have the right to control their own bodies the same as men do.
I believe that "Coverage of Certain Preventive Services under the Affordable Care Act" should be there for them.




                                                                                                381594
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 12 of 456
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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                                                                           Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7132
NE



                                     Submitter Information
Name: kathy dewispelare
Address:
  Omaha, 
NE, 
68104
Email: kathy.dewispelare@yahoo.com
Organization: NA


                                        General Comment
The control an employer has over his employees life should not extend into the home. Family decisions should
be made by the family and whether the employer agrees or disagrees should not be a factor.




                                                                                              381595
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7133
MI



                                       Submitter Information
Name: Jessica Sevilla
Address:
  Royal Oak, 
MI, 
48073
Email: jsevill3@yahoo.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381596
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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7134
MI



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  MI, 
48310
Organization: NA


                                           General Comment
Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses. Birth control is used to treat a variety of conditions, one of which is
planning a pregnancy and should be decided upon by the patient and doctor, as is with every other type of
medication on the market today. To have an employer decide for a patient, and one that only impact females, is
nothing but a discriminatory practice and should not be allowed.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

I urge the Obama administration to do all it can to ensure that all women have coverage for the full range of
contraceptive methods without copays.




                                                                                                    381597
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
                                                                          Tracking No. 1jy-8f13-685v
                                                                          Comments Due: October 21, 2014
                                                                          Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7135
MN



                                     Submitter Information
Name: Sharon McKenna
Address:
  Plymouth, 
MN, 
55441
Email: mckenna45@gmail.com
Organization: NA


                                        General Comment
Why is there such need to control women? Are we not independent, smart people? Pick some other issue to get
rid of your need to control/anger/religious beliefs.




                                                                                             381598
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 16 of 456
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7136
AK



                                     Submitter Information
Name: Sarah Burther
Address:
  Anchorage, 
AK, 
99517
Organization: NA


                                         General Comment
It is unfair and unethical to allow businesses to make reproductive choices for their employees. Imagine a woman
whose health would be at risk were she to carry another child and who could not afford to purchase birth control
without insurance coverage. This legislation puts too much control into the hands of business owners, who have
no right to make hide decisions for their staff.




                                                                                               381599
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7137
NH



                                    Submitter Information
Name: Elaine Flockhart
Address:
  Exeter, 
NH, 
03833
Email: hartflock@comcast.net
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Flockhart-E_2014-10-14_16287561




                                                                                        381600
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 18 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381601
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 19 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Representative Eileen C. Flockhart
62 Park Ct.
Exeter, NH 03833




                                                                               381602
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 20 of 456
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7138
TX



                                      Submitter Information
Name: Jennifer Smith
Address:
  Houston, 
TX, 
77006-5323
Email: smithjj3@aol.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

A woman's birth control is not her boss business. I strongly urge the Obama administration to do all it can to
ensure that all women have coverage for the full range of contraceptive methods without copays.




                                                                                                  381603
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                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7139
MN



                                      Submitter Information
Name: Zak Lemmer
Address:
  MN, 
55404
Organization: NA


                                          General Comment
'In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity. '

Seconded, loudly.




                                                                                                 381604
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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                                                                           Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7140
AZ



                                     Submitter Information
Name: Anonymous Anonymous
Address:
  AZ, 
85032-4207
Organization: National Partnership for Women & Families


                                        General Comment
I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. No one but a woman, her partner and her Medical Doctor should have any
input on what is available and what is right for a woman to use to maintain her health. These are personal
decisions to be made by the person
involved, not some outside person or company with special beliefs that they want to impose on everyone else.
This is a health issue, not a religious or political issue and should be treated as such.




                                                                                              381605
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 23 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-h0sz
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7141
MI



                                       Submitter Information
Name: Karen Donahue
Address:
  Detroit, 
MI, 
48226
Email: kdonahue@mercywmw.org
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381606
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                                                                               Status: Posted
PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-rnw2
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7142
MO



                                       Submitter Information
Name: Kathy Green
Address:
  Gladstone, 
MO, 
64119
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

No woman's birth control is her boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.

Sincerely,

Kathy Green




                                                                                                   381607
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 25 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-b3bq
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7143
CA



                                       Submitter Information
Name: Mitch Dalition
Address:
  San Francisco, 
CA, 
94117
Email: mitchdsf@gmail.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful and ridiculous Hobby Lobby decision, it is critically important to me
that for-profit corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381608
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-jsmn
                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7144
NY



                                     Submitter Information
Name: L. Anonymous
Address:
  NY, 
NY, 
10025
Organization: none


                                        General Comment
Why is it that Viagra and related drugs are covered and the Republicans are fighting coverage for women?




                                                                                               381609
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 27 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7145
CA



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  CA, 
91106
Organization: NA


                                         General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My health care is not my boss business. I urge the Obama administration to do all it can to ensure that all women
have coverage for the full range of contraceptive methods without copays.




                                                                                                 381610
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 28 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-n6wl
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7146
TX



                                      Submitter Information
Name: tonia deur
Address:
  amarillo, 
TX, 
79106
Email: toniadeur@gmail.com
Organization: NA


                                         General Comment
It is my body and my life. I am neither a breeding machine,a punching bag, or your property. I am a free thing
person who should be in control of her own destiny.#Wematter. #Wevote.




                                                                                                 381611
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 29 of 456
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
                                                                            Tracking No. 1jy-8f14-malj
                                                                            Comments Due: October 21, 2014
                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7147
NY



                                      Submitter Information
Name: Sybil Lefferts
Address:
  E.Setauker, 
NY, 
11733
Email: sybillefferts@aol.com
Organization: NA


                                         General Comment

Please keep bosses out of women's reproductive choices. If this regulatory action helps in this issue, I totally
support it and urge you to do whatever you can to mitigate the disastrous Hobby Lobby Supreme Court decision.




                                                                                                381612
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 30 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-lc1i
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7148
CA



                                       Submitter Information
Name: Leslie Van Exel
Address:
  Costa Mesa, 
CA, 
92627
Email: les@fo2k.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381613
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 31 of 456
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-gbgu
                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7149
NY



                                     Submitter Information
Name: Timothy Liebe
Address:
  Syracuse, 
NY, 
13210
Email: tliebe@gmail.com
Organization: National Partnership


                                        General Comment
Employers have no business, and no right, to force their dogma down their employees' throats. THEIR "religious
freedom" ends where somebody else's begins - and by using their power over their employees, they are in fact
doing the very OPPOSITE of what the First Amendment says they can.




                                                                                              381614
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-74ds
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7150
CA



                                      Submitter Information
Name: Donna Heim
Address:
  Huntington Beach, 
CA, 
92646
Email: dmheim123@gmail.com
Organization: NA


                                         General Comment
In order to make abortion a rare occurrence in our society, women's access to contraception must not be
compromised. It's ironic that the same "religious" employers who want to block contraception for others, are also
outraged about abortion and want to block other women's access to abortion too. These people should mind their
own business, and make decisions only about their own private lives, and not interfere with the health choices of
women who work for them.




                                                                                                 381615
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-ia3i
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7151
NJ



                                      Submitter Information
Name: Ruth Webb
Address:
  Dumont, 
NJ, 
07628
Email: CesNastoya@aol.com
Organization: NA


                                          General Comment
As a woman and active citizen, I support all efforts to provide full insurance coverage to women of all available
birth control methods without copay and regardless of where they may work. Women deserve the right to choice
birth control methods right for them and the option of using birth control with full support as with any other
medical prescription. Complete and effective medical coverage should be the right of all citizens of the United
States and most especially to our women who face added reproductive responsibilities and decisions. I defend
and support an administration who fights to support and protect these rights. Thank you.




                                                                                                 381616
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 34 of 456
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
                                                                            Tracking No. 1jy-8f14-a4ot
                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7152
IL



                                     Submitter Information
Name: Arthur McKay
Address:
  Mount Prospect, 
IL, 
60056-3819
Email: patnarthur@sbcglobal.net
Organization: NA


                                         General Comment
Corporations should not be making the health care decisions for anyone in the USA. By not allowing the
insurance coverage for forms of birth control that they DEEM appropriate they are making the health care
decisions and not the doctors. What next will the corporations be making? CORPORATIONS ARE NOT
PEOPLE!




                                                                                               381617
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 35 of 456
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-b0ik
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7153
CA



                                    Submitter Information
Name: Anje Waters
Address:
  Nevada City, 
CA, 
95959
Email: anjewa@gmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Waters-A_2014-10-3_24142681




                                                                                        381618
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 36 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381619
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 37 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Anje Waters
980 Gold Flat Rd
Nevada City, CA 95959




                                                                               381620
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 38 of 456
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-bgf4
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7154
OR



                                       Submitter Information
Name: Robert Ruff
Address:
  Turner, 
OR, 
97392
Email: bobbybob13@meritel.net
Organization: Planned Parenthood


                                          General Comment
My wife's health issues are not the business of her boss.




                                                                                        381621
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-x6wg
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7155
MI



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  MI, 
48348
Organization: NA


                                          General Comment
Pretending to care about the people because you are religious, (superstitious) does not give your purpose validity.




                                                                                                  381622
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 40 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-36n9
                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7156
WA



                                       Submitter Information
Name: Annette Huenke
Address:
  Port Townsend, 
WA, 
98368
Email: omnibus@olympus.net
Organization: NA


                                          General Comment

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.

In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.




                                                                                                   381623
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7157
NJ



                                       Submitter Information
Name: O. Ruiz
Address:
  Clifton, 
NJ, 
07013
Email: osiel2001@yahoo.com
Organization: NA


                                          General Comment

In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381624
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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
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                                                                                Comments Due: October 21, 2014
                                                                                Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7158
TX



                                       Submitter Information
Name: Lin Willett
Address:
  Grapevine, 
TX, 
76051
Organization: NA


                                           General Comment
I have no interest in interfering in your ability to receive insurance supported erectile dysfunction medications, I
expect the same for birth control, I also expect science to be respected in the matter of the day after pill.

Hobby Lobby lost me as a customer for life, the blasphemy of claiming religious exemption.




                                                                                                    381625
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-dhd9
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7159
TX



                                       Submitter Information
Name: meredith ryan
Address:
  kingwood, 
TX, 
77339
Organization: NA


                                          General Comment
It personally doesn't affect me now, but in the event that it did, it's nobody's business save for mine and my
doctor and for companies to think that they know BETTER than their female employees what they need and
what kind of healthcare they should have is a tragic misapprehension on their part.




                                                                                                  381626
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-re1e
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7160
NY



                                       Submitter Information
Name: josh e
Address:
  NY, 
10025
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381627
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 45 of 456
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
                                                                            Tracking No. 1jy-8f14-fj5y
                                                                            Comments Due: October 21, 2014
                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7161
DC



                                     Submitter Information
Name: Peggy Ye
Address:
  Washington, 
DC, 
20008
Email: pegsie@yahoo.com
Organization: NA


                                         General Comment
As an Obstetrician Gynecologist who takes care of women of reproductive age, I help patients choose a
contraceptive method that works with their needs and desires every day. Unfortunately, part of my conversation
with the patient often includes a question about their insurance. Often I have to change my recommendation for a
specific oral contraceptive pill or contraceptive device based on her insurance.

I believe that these decisions should be made purely on medical grounds, rather than based on the type of
insurance the patient has. Every woman should have true access to the contraceptive method of her choice,
without copay, regardless of which company supplies her insurance and regardless of her employer.

I have strongly supported the contraceptive coverage provision in the PPACA because contraception is part of
basic health care. I urge the Obama administration to do all it can to ensure all women have coverage for the
contraceptive method of her choice, without copays.




                                                                                                381628
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 46 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-h4q5
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7162
NY



                                       Submitter Information
Name: C Love
Address:
  NY, 
12211
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods. Birth control is
basic health care for women, and womens health care decisions should be made by women and their health care
providers, not by bosses. We would never tell men what health care decisions they should make!

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381629
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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
                                                                                Tracking No. 1jy-8f14-h4fe
                                                                                Comments Due: October 21, 2014
                                                                                Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7163
ME



                                        Submitter Information
Name: Elinor Neuhauser
Address:
  ME, 
04614
Email: ellieneu@hotmailo.com
Organization: NA


                                            General Comment
I have submitted comments, signed petitions, etc. previously.

I didn't realized the state of this country has reached the point that bosses ( corporate and otherwise) can be
dictators! Yes, as a medical professional who has dealt with the results limited contraceptive and abortion
services , I am angry at what is happening to women's ( primarily poorer women's) health services!

Please take action to correct this injustice!




                                                                                                    381630
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                                                                               Status: Posted
PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-fn44
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7164
NJ



                                       Submitter Information
Name: Sharon Rosen
Address:
  Lakewood, 
NJ, 
08701
Email: sharrosen@aol.com
Organization: NA


                                           General Comment
The religious beliefs or lack of them are irrevelant in an individuals personal rights whether they be religious
practices or health care decisions. The constitution is supposed to protect us from religious beliefs being forced
upon us by the state or other individuals.




                                                                                                   381631
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 49 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-9t9w
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7165
FL



                                      Submitter Information
Name: Mr & Mrs Dennis Roderigues
Address:
  Pinellas Park, 
FL, 
33781
Email: TerrysDen@tampabay.rr.com
Organization: NA


                                         General Comment
Women should have the right to choose about birth control or anything else that pertains to their own body !
After all, it is their body !!!!




                                                                                                 381632
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 50 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-p9av
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7166
CA



                                       Submitter Information
Name: Jessica Landon
Address:
  Long Beach, 
CA, 
90804
Email: jk_landon@yahoo.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381633
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-824b
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7167
FL



                                       Submitter Information
Name: Patricia DeLuca
Address:
  Nokomis, 
FL, 
34275
Email: rickscustompainting@comcast.net
Organization: Rick's Custom painting


                                          General Comment
My boss does not want to know the medicine I need ! That is between the doctor and the patient. The
conversation about medications is not to be discussed by the employer and employee. The employer stated that
unless the medication would have a negative effect on the efficiency of job production due to side effects there is
not a reason to have the conversation. End of conversation.




                                                                                                  381634
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                                                                           Status: Posted
PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-mdaw
                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7168
TX



                                     Submitter Information
Name: Carolyn Szymanski
Address:
  Round Mountain, 
TX, 
78663-8521
Email: wrecks@wildblue.net
Organization: NA


                                        General Comment
Religious leaders should not control the government since we do not get to vote for or against them. Women
seem to be the scapegoats for religious leaders. Seems that "God" hates women.




                                                                                              381635
               Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 53 of 456
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                                                                        Status: Posted
PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-9e1n
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7169
AZ



                                          Submitter Information
Name: Adam Freden
Address:
  Tucson, 
AZ, 
85710
Email: TeslaGuy@Gmail.com
Organization: NA


                                            General Comment
I can't believe this is still an issue!




                                                                                        381636
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 54 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-b2lg
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7170
NY



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  NY, 
11221
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381637
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 55 of 456
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-f5ns
                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7171
OK



                                     Submitter Information
Name: Cynthia Stevenson
Address:
  Stillwater, 
OK, 
74074
Email: tattingaway@gmail.com
Organization: NA


                                        General Comment
When bosses can dictate what you can and cannot have in medical care it makes the employees slaves. That is
wrong. Please vote for coverage of all preventive services under the Affordable Care Act. Thank you.




                                                                                              381638
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-b039
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7172
ME



                                      Submitter Information
Name: Christine Lomaka
Address:
  Portland, 
ME, 
04101
Organization: NA


                                          General Comment
My health care, something that affects my family as well as myself, is not the business of my boss or place of
business.




                                                                                                 381639
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 57 of 456
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-lx7d
                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7173
MN



                                     Submitter Information
Name: Marilyn Williams
Address:
  Blaine, 
MN, 
55434
Email: m-will@umn.edu
Organization: NA


                                        General Comment
This is just another way Big Business gets out of having to provide benefits to its employees. Another way to
make women pay more for there health care. Make men pay for viagra and other special medications they need.




                                                                                              381640
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 58 of 456
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-4m3n
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7174
CA



                                    Submitter Information
Name: Michelle Flood
Address:
  Cameron Park, 
CA, 
95682
Email: michellelflood@gmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Flood-M_2014-10-3_24135764 (2)




                                                                                        381641
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 59 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381642
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 60 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Michelle Flood
3251 Cessna Dr
Cameron Park, CA 95682




                                                                               381643
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-utyp
                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7175
IL



                                      Submitter Information
Name: Julia Beckman
Address:
  Darien, 
IL, 
60561
Email: beckman110@comcast.net
Organization: NA


                                          General Comment
I urge the administration to do everything in the President's power to make contraceptive coverage available to
all women - regardless of their employer, profession or age.
I'm very glad this rule is under consideration!




                                                                                                 381644
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 62 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7176
MN



                                      Submitter Information
Name: Hal Moore
Address:
  Duluth, 
MN, 
55811-5928
Email: hmoore@clearwire.net
Organization: none


                                         General Comment
It is religious conservatives and reactionaries who are obstruting women's access to certain sexual technologies
beause they claim it is againt their religious convictions. But I've never heard a word about E.D. drugs or
vascetomies being against so called religious convictions. Furthermore, as a religious person and former ordained
minister I would counter that the God who supposedly revealed himself and his laws in the Bible is today
revealing himself in and through the sciences. It this regard it is interesting that a world population reaches a
certain critical level, the pill came along. As population increases became even more problematic additional
contraceptive means became available. Is there a message here perhaps from a "god" who is interested in our
welfare and the health of the planet?




                                                                                                381645
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-urav
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7177
OR



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  OR, 
97402
Organization: NA


                                          General Comment
I support the administrations efforts to ensure that women have coverage for the full range of contraceptive
methods without copays, no matter where they work.




                                                                                                 381646
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 64 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-mkbq
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7178
PA



                                      Submitter Information
Name: John Margerum
Address:
  Philadelphia, 
PA, 
19129
Email: jmargerum1@gmail.com
Organization: NA


                                         General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.




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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
                                                                                Tracking No. 1jy-8f14-qm3s
                                                                                Comments Due: October 21, 2014
                                                                                Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7179
CA



                                       Submitter Information
Name: Melissa Misner
Address:
  Morgan hill, 
CA, 
95037
Organization: NA


                                           General Comment
I am sorry, you don't seem to understand why government has such a low rating. It's because you can not see
people as being people, you can only see non corporal entities. Women are human beings, you exist because of
one. Women are 100% capable of taking care of themselves, they also are completely capable of determining
who they are. Somewhere, government got the rather stupid idea that women need a random man to tell them
who they are and make choices for them. Nothing could be further from the truth. No employer should ever have
controll over any employees reproductive rights. That puts the employees in an ridiculous position of having
their personal under the controll of their boss, leaving them nothing more than slaves. Since it is illegal to ask if
someone is planning on having children in an interview, that should continue for the entirety of employment.




                                                                                                    381648
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-xtp4
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7180
CA



                                    Submitter Information
Name: Jack Schlotte
Address:
  San Diego, 
CA, 
92163-5153
Email: photojack53@yahoo.com
Organization: NA


                                        General Comment
The Supreme Court Hobby Lobby decision was partisan and WRONG! If they conduct business in public, they
HAVE to abide by federal laws, PERIOD. This mixes church and state in the worst way and gives BIGOTED
private citizens control over others health and safety. This should NEVER be allowed!




                                                                                         381649
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 67 of 456
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-kkho
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7181
CA



                                     Submitter Information
Name: Cynthia Hobgood Strauss
Address:
  Oakland, 
CA, 
94607
Email: cyntherkay@yahoo.com
Organization: NA


                                         General Comment
You have no right to interfere with a woman's medical issues.




                                                                                        381650
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 68 of 456
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-e9h5
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7182
CA



                                    Submitter Information
Name: Dan Fogarty
Address:
  Santa Rosa, 
CA, 
94509
Email: fogarty830@aol.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Fogarty-D_2014-10-3_24136378




                                                                                        381651
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 69 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381652
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 70 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Dan Fogarty
5423 Yerba Buena Rd
Santa Rosa, CA 95409




                                                                               381653
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7183
PA



                                     Submitter Information
Name: Stephen Dempsey
Address:
  Cochranville, 
PA, 
19330-1773
Email: chairman@epix.net
Organization: NA


                                         General Comment
No one not the Federal Government, State Governments, or any other entities have the right to interfere with
Women Rights. A woman can and should be able to control all health issues pertaining to her. Do not attempt to
limit her rights if you do not do the same for all males.




                                                                                               381654
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-rnm9
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7184
MI



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  MI, 
49635
Organization: NA


                                           General Comment
I believe it is wrong to deny Certain Preventive Services under the Affordable Care Act to employees based on
employer religious beliefs. First it will be womens reproductive health issues, then it will be denial of coverage
for blood transfusions for Jehovah's Witness employers, then denial of most coverage for Christian Science
employers ......... I believe this proposed rule has its object to "cherry-pick" the ACA into ohblivion. Do
employees have to check their employer's religious beliefts before taking a job?

Let's stop the cherry-picking and let America join the rest of the developed world with universal health care!




                                                                                                   381655
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7185
MD



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  MD, 
21204
Organization: NA


                                          General Comment
This is none of an employer's business - period.




                                                                                        381656
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 74 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-anpe
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7186
NJ



                                       Submitter Information
Name: Robert Sala
Address:
  NJ, 
07823
Organization: NA


                                           General Comment
An employer should be concerned solely with an employee's job performance, not with what any individual does
in his/her private life. This includes contraception and the availability of contraceptive measures. To open the
possibility of denial of these services to half the population based upon the caprices of an employer is contrary to
American values. Women should have access to contraceptive measures without copays.




                                                                                                   381657
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-pwcl
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7187
GA



                                    Submitter Information
Name: Christy McGill
Address:
  Macon, 
GA, 
31216
Email: jcmac147@cox.net
Organization: NA


                                        General Comment
Hobby Lobby you should be ashamed of yourselves. You know the main reason that you do not want to cover
women fully is the money. You have plenty and I KNOW that you have a hell lot more than your employees. Do
not shortchange the women you employ.




                                                                                           381658
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PUBLIC SUBMISSION                                                        Posted: July 13, 2015
                                                                         Tracking No. 1jy-8f14-ql10
                                                                         Comments Due: October 21, 2014
                                                                         Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7188
DC



                                    Submitter Information
Name: Shireen Parsons
Address:
  Washington, 
DC, 
20011
Email: pachamama3@gmail.com
Organization: NA


                                        General Comment
My working hours belong to my employer. My personal life and my personal decisions belong to me, and are
none of my employer's business!!




                                                                                            381659
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 77 of 456
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-wb9e
                                                                           Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7189
MI



                                     Submitter Information
Name: Anonymous Anonymous
Address:
  MI, 
49756
Organization: Medicare Medicaid services


                                        General Comment
There is no valid reason for anyone to know what issues or conversations occur between anyone and their Doctor




                                                                                              381660
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-4uk6
                                                                           Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7190
WI



                                     Submitter Information
Name: Robert Lotzer
Address:
  Mauston, 
WI, 
53948
Email: rlotzer@hotmail.com
Organization: NA


                                        General Comment
If Hobby Lobby is a "person" and the controller of that "person", the CEO, can deny providing contraception to
his female employees based on his religious belief can he not also require all employees work on any day, even
religious holidays, that his religion does not observe? A Jewish owned company can deny Christmas and Easter?
A Lutheran owned company can deny Passover? Can Hobby Lobby require employees to work Saturday but not
Sunday even if that person is Jewish? And furthermore this is fundamentally against the Constitution of the
American people and that article supersedes any State Constitution.




                                                                                              381661
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7191
CA



                                       Submitter Information
Name: Neal Steiner
Address:
  Los Angeles, 
CA, 
90034
Email: nrspacific@yahoo.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.

Thank you.




                                                                                                   381662
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-gzvx
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7192
NY



                                    Submitter Information
Name: Lynn Waterman
Address:
  Sand Lake, 
NY, 
12153
Email: lynnw120@verizon.net
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Waterman-L_2014-10-3_24151977




                                                                                        381663
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 81 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381664
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 82 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Lynn Waterman
120 Mosher Rd
Sand Lake, NY 12153




                                                                               381665
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7193
MN



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  MN, 
55113
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381666
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7194
PA



                                      Submitter Information
Name: P. A. O'Connor
Address:
  8264 Lyons Rd., 
PA, 
17268
Email: antietam2013@centurylink.net
Organization: Private citizen and tax payer


                                          General Comment
Hobby Lobby, nor any other orgn, has any right to decide to restrict health care for women. Period. Full stop.




                                                                                                 381667
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 85 of 456
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
                                                                          Tracking No. 1jy-8f14-ouq3
                                                                          Comments Due: October 21, 2014
                                                                          Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7195
CA



                                     Submitter Information
Name: Anonymous Anonymous
Address:
  CA, 
94901
Organization: NA


                                        General Comment
I support the Obama administrations efforts to prevent bosses from denying women access to contraception
without copays.




                                                                                              381668
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 86 of 456
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7196
WA



                                      Submitter Information
Name: Amanda DeShazo
Address:
  University Place, 
WA, 
98467
Email: adeshazo@live.com
Organization: NA


                                          General Comment
Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses. I don't believe that a corporation's classified religion should dictate
whether women are able to conceive or not conceive children. A corporation is not a person, and therefore should
have no entitlement on whether they can claim a religion or not. Our founding fathers believed in a separation of
church and state, and to me that means that religion cannot dictate the women's right to reproductive rights.
This Supreme Court ruling reinforces inequality in our country toward women and the poor, and I believe that if
I cannot afford birth control I should have the right under the Affordable Care Act to be able to receive it. I
believe that it is my right under the Affordable Care Act to be granted affordable health care by my government,
in all of my health related decisions, regardless of my employer's beliefs.




                                                                                                  381669
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7197
NM



                                    Submitter Information
Name: Barbara Folse
Address:
  Abuquerque, 
NM, 
87108
Email: befdbd@msn.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Folse-B_2014-10-4_24152035




                                                                                        381670
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 88 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381671
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 89 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Barbara Folse
617 Espanola St NE
Albuquerque, NM 87108

5053691761




                                                                               381672
              Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 90 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7198
MD



                                       Submitter Information
Name: elizabeth reindollar
Address:
  Laurel, 
MD, 
20708
Email: eadollar@yahoo.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381673
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-u1fn
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7199
CA



                                      Submitter Information
Name: Lily Anonymous
Address:
  CA, 
95975-0242
Organization: NA


                                          General Comment
No business should be able to mandate what health care procedures that an employee is eligible to receive. We
need single payer health care for all citizen and visitors to our county, just like all the other industrialized
countries now have in place. Get business out of health care and out of government.
Sincerely,
Lily Marie,
10995 Garden Ln./ P.O.Box 242
Rough & Ready, CA 95945




                                                                                                  381674
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-l8wh
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7200
OR



                                       Submitter Information
Name: Nannette Taylor
Address:
  Damascus, 
OR, 
97089-6599
Organization: NA


                                          General Comment
I strongly support the administrations efforts to ensure that women have coverage for the full range of
contraceptive methods without copays, no matter where they work. It is their right and it is your responsibility to
make sure this happens.




                                                                                                   381675
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7201
MI



                                      Submitter Information
Name: richard ramey
Address:
  jackson, 
MI, 
49202
Email: guitarmahn@gmail.com
Organization: NA


                                          General Comment
Blatant Christians rulings open a never ending revolving door of rules from religions, or simply a allegiance to
Christianity both of which are radically wrong since the founders meant to shield us FROM religion also




                                                                                                  381676
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7202
MS



                                       Submitter Information
Name: Kaleigh Thacker
Address:
  Hernando, 
MS, 
38632
Email: kaleighthacker@yahoo.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381677
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7203
PA



                                      Submitter Information
Name: Jocelyn G. T. Anthony
Address:
  Philadelphia, 
PA, 
19119
Email: jgtanthony@gmai.com
Organization: NA


                                          General Comment
Birth control is the business of the people directly involved, not for an employer to make decisions about. Please
keep Hobby Lobby and other businesses out of birth control decisions for their employees.

Thank you for considering my message.


Sincerely,




                                                                                                  381678
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7204
FL



                                       Submitter Information
Name: Elmo Dunn
Address:
  Longwood, 
FL, 
32779
Email: russdunn63@yahoo.com
Organization: NA


                                          General Comment
It is critical that all women have coverage for the full range of contraceptive methods without any co-pays. It
does not matter where they work. There should be no exceptions based on religion or other factors.




                                                                                                   381679
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7205
FL



                                       Submitter Information
Name: Patricia McDonald
Address:
  Winter Park, 
FL, 
32792
Email: patmcdonald@cfl.rr.com
Organization: NA


                                          General Comment
I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381680
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7206
IL



                                      Submitter Information
Name: Adele Gleason
Address:
  Chicago, 
IL, 
60645
Organization: NA


                                          General Comment
It is not an employers business what healthcare i use or do not use. An exemption for religious reasons for the
employer is not freedom of religion, it is limiting the employees privacy. This is wrong.




                                                                                                  381681
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7207
CA



                                     Submitter Information
Name: Gary Dowling
Address:
  Pope Valley, 
CA, 
94567
Organization: NA


                                         General Comment
Reverse the Hobby Lobby decision, keep personal religious beliefs, personal.




                                                                                               381682
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7208
WA



                                      Submitter Information
Name: Gail Gosney Wrede
Address:
  Olympia, 
WA, 
98502
Email: gailcg@comcast.net
Organization: NA


                                         General Comment
Every woman has a right to choose when she will become pregnant and choose to raise a child(ren). Birth control
is essential to protect this right. This is an individual decision, NOT a corporate decision. Birth control is as
essential to health as is blood pressure medication. This is not a corporate decision.




                                                                                                381683
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7209
NJ



                                      Submitter Information
Name: Geraldine Misiewicz
Address:
  Sayreville, 
NJ, 
08872
Organization: NA


                                         General Comment
Given the Supreme Court's harmful Hobby Lobby decision, it is very important to me that we, as a nation, do not
allow for-profit companies to dictate to their female employees how they spend their pay, and yes, health care
coverage is part of the pay an employee receives. Birth control coverage is an important part of health care
coverage, and for-profit corporations do not have the right to impose restrictions on this type of coverage. I
support the Obama administration's effort to ensure that all women have contraceptive coverage without copays,
regardless of their bosses' beliefs. My contraception is a decision that concerns me and my doctor, and no one
else. I urge the Obama administration to do all that it can to ensure all women have access to all contraceptive
methods without copays.




                                                                                                381684
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7210
FL



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  FL, 
33063
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381685
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7211
FL



                                     Submitter Information
Name: David Kline
Address:
  Lake Worth, 
FL, 
33460
Email: growth88@gmail.com
Organization: NA


                                         General Comment
Outdated ideas about contraception and religious opposition to legally accepted practices by a small, but very
vocal corporate minority should not color the debate over applicable medical procedures for employees. Why
does the corporation have its nose in an employees medical history to begin with? How is that acceptable? There
is no moral dilemna here, just as there would be none should the employee choose to spend their paycheck
supporting reproductive rights, satanic rituals, or "sharia" lobbying. The health care coverage is part of the
employees pay benefits. The employer may provide the employee with coverage, but ultimately that coverage
should comply with the law.




                                                                                               381686
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7212
MA



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  MA, 
02474
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381687
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7213
TX



                                      Submitter Information
Name: Shannon Zander
Address:
  Hewitt, 
TX, 
76643
Email: SHANNON4@GRANDECOM.NET
Organization: Ms.


                                         General Comment
No person should ever be able to decide for someone else what they think is best for them. No one can fully
know what someone else is going through or has gone through to make a decision for them and limit them.




                                                                                                381688
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                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7214
OH



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  OH, 
44281
Organization: NA


                                          General Comment
Let's keep religion out of this & find a common-sense solution to help those who need it most to lighten their
financial burden vis--vis healthcare w/o stepping on religious sensibilities! Many solutions have been proposed;
please set aside personal agendas & do the right thing!!




                                                                                                 381689
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                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7215
PA



                                     Submitter Information
Name: Elizabeth Webb
Address:
  Atglen, 
PA, 
19310
Email: elizabethwebb@frontier.com
Organization: NA


                                         General Comment
Birth control access for women is a critical health issue. I know first hand as I was told by my doctors after
almost dying when having my second child that I must ensure that I never get pregnant again as it is way to
dangerous for my health. Please note also that I have been happily married for 27 years to my one and only
husband. Many other women have it much worse on this issue, and have situations such as related to health, age,
family and work problems and poverty wherein they must be able to plan for, space out and / or prevent
pregnancies.




                                                                                               381690
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7216
CA



                                    Submitter Information
Name: Cathy Foxhoven
Address:
  Millbrae, 
CA, 
94030
Email: iambasque@gmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Foxhoven-C_2014-10-3_24145805




                                                                                        381691
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 109 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381692
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 110 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Cathy Foxhoven
295 Vallejo Ct
Millbrae, CA 94030




                                                                               381693
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7217
GA



                                       Submitter Information
Name: Rebecca Dries
Address:
  Decatur, 
GA, 
30030
Email: rebeccalinn07@gmail.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381694
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 112 of 456
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                                                                               Status: Posted
PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-cu4x
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                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7218
NJ



                                       Submitter Information
Name: Rebecca Rabinowitz
Address:
  NJ, 
08075-1350
Organization: National Partnership


                                          General Comment
I fervently hope that CMS and HHS will recognize that women require a full complement of healthcare services,
which incorporates reproductive healthcare - contraception, preventive screenings, abortion if necessary, peri-
menopausal and post-menopausal support, etc. None of these services should be ANY business or concern of an
employer - these are private medical decisions and isses which in no way should be disclosed to, nor require the
"permission" of an employer. They should NOT be subject to an employer's personal religious beliefs - that is
patronizing, patriarchal, and frankly totally discriminatory and insulting against/to women. It is an outrage and an
egregious overreach to permit employers to intrude upon, and insert themselves between women and their
physicians or other healthcare providers. We are NOT second class citizens, and we should not be treated this
way.


I believe that every woman should have full, unfettered access to the contraceptive method of her choice without
a copay, and I support the Obama administrations efforts to ensure that all women have contraceptive coverage
without copays, regardless of their bosses beliefs. We need strong rules that protect womens health and that
narrowly define closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381695
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-m7si
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7219
CA



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  Palo Alto, 
CA, 
94306
Organization: NA


                                         General Comment
Please do all you can to ensure women have access to birth control for the sale of women's health and families.




                                                                                                 381696
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 114 of 456
                                                                             As of: November 03, 2017
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-y94v
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7220
MD



                                      Submitter Information
Name: Kay Travis
Address:
  Gaithersburg, 
MD, 
20877
Email: ktravis62@comcast.net
Organization: NA


                                          General Comment
I am very opposed to the ruling that bosses of companies can deny paid birth control to their employees! These
workers are likely to be among the lower paid people who can ill afford to pay for it themselves. And of course,
without birth control they are likely to have larger families whose needs may not be met because of the low
earnings of the parents.

Voters who are against paying birth control for working women also tend to be those who oppose aid to low
income families.

They also tend to want to deny higher investment in education, especially early childhood classes which can be
vital to many children.

Many that oppose all these things favor tax breaks for corporations at the expense of our low income citizens.
Our country does not need such a class war! The 1% gets what they want, and the 98% are left wanting.




                                                                                                 381697
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-x7sb
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7221
CA



                                       Submitter Information
Name: Nancy Eichler
Address:
  Albany, 
CA, 
94706
Email: nancy.eichler@gmail.com
Organization: NA


                                          General Comment
Contraception to prevent pregnancy is the sole and private responsibility of the user. Interference that in any way
prevents that use, by an employer, the government or other entities, should absolutely be prohibited and without
exception.




                                                                                                  381698
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 116 of 456
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                                                                        Status: Posted
PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-97ie
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7222
NJ



                                    Submitter Information
Name: David Wasserman
Address:
  Fort Lee, 
NJ, 
07024
Email: dawassermanmd@aol.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Wasserman-D_2014-10-3_24148046




                                                                                        381699
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 117 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381700
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 118 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

David Wasserman
1434 12th St
Fort Lee, NJ 07024




                                                                               381701
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 119 of 456
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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
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                                                                                Comments Due: October 21, 2014
                                                                                Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7223
IL



                                        Submitter Information
Name: Andrew Rowlas
Address:
  Chicago, 
IL, 
60645
Organization: self


                                           General Comment
The Hobby Lobby decision by the Supreme Court is a wrong decision. It is political to an extreme. Birth control
is an individual's right not a n employer's right. If an employer doesn't believe in birth control then he or she does
not have to practice it but that does not mean that they have the right to interfere with an employee's right to
practice it. Every American today deserves full health coverage including contraceptive coverage.




                                                                                                     381702
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                                                                                 Status: Posted
PUBLIC SUBMISSION                                                                Posted: July 13, 2015
                                                                                 Tracking No. 1jy-8f14-j8od
                                                                                 Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7224
FL



                                        Submitter Information
Name: Sondra Sparapani
Address:
  E. Palatka, 
FL, 
32131
Email: femstallion@gmail.com
Organization: Ms.


                                            General Comment
Can't even believe we're discussing this....I can't believe that they won't cover this issue. Stop trying to control
our bodies. It's insulting on every level.




                                                                                                      381703
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-x51n
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7225
GA



                                       Submitter Information
Name: Andy Lynn
Address:
  Douglasville, 
GA, 
30135
Email: ascottlynn@yahoo.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381704
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                                                                               Status: Posted
PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-hsl5
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7226
CT



                                       Submitter Information
Name: Anna Bigazzi
Address:
  Farmington, 
CT, 
06032
Email: bigazzi@hartford.edu
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381705
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 123 of 456
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                                                                        Status: Posted
PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-4o5t
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7227
CT



                                    Submitter Information
Name: Stephanie C Fox
Address:
  Bloomfield, 
CT, 
06002
Email: scfjdqueenbee@yahoo.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Fox-S_2014-10-3_24153443




                                                                                        381706
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 124 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381707
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 125 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Stephanie C. Fox
4 Wyndcliffe Park
Bloomfield, CT 06002




                                                                               381708
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 126 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-70zs
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7228
CA



                                      Submitter Information
Name: Carla Anonymous
Address:
  CA, 
91711
Organization: NA


                                         General Comment
Access to all forms of birth control is imperative for all women, and the Supreme Court's decision in the Hobby
Lobby case was harmful and set a horrible precident. I believe that every woman should have access to the
contraceptive method of her choice without a copay, and I support the Obama administrations efforts to ensure
that all women have contraceptive coverage without copays, regardless of their bosses beliefs. We need strong
rules that protect womens health and that narrowly define closely held for-profit entity.




                                                                                                381709
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
                                                                            Tracking No. 1jy-8f14-rxnk
                                                                            Comments Due: October 21, 2014
                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7229
MI



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  MI, 
48309
Organization: NA


                                         General Comment
Birth Control should be available for all women who want or need it. It isn't the boss's business what any woman
uses for birth control.




                                                                                                381710
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-9zmq
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7230
CA



                                       Submitter Information
Name: Ariel Adams
Address:
  Albany, 
CA, 
94706
Email: ariel@lilygilder.org
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381711
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                                                                                 Status: Posted
PUBLIC SUBMISSION                                                                Posted: July 13, 2015
                                                                                 Tracking No. 1jy-8f14-6dbp
                                                                                 Comments Due: October 21, 2014
                                                                                 Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7231
HI



                                        Submitter Information
Name: Laurel Whillock
Address:
  Kailua Kona, 
HI, 
96740
Email: lwhillock@hawaiiantel.net
Organization: NA


                                           General Comment
When I owned a business with 80 employees It never occurred to me to try and dictate their moral or spiritual
beliefs. Their, and my, personal lives were just that - personal. One of the basic tenets of this great country is the
freedom of belief and I hold that to include freedom of choice. No employer has the right to tell someone who
relies upon them for a livelihood what they should do beyond the confines of the workplace, or what to think
within the confines of their mind. Wars have been fought and lives freely given to avoid the tyranny of living
under the thumb of dictators. Like it or not, employees must have the options to make their own moral decisions
in personal matters.




                                                                                                     381712
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 130 of 456
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                                                                               Status: Posted
PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-tpxc
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7232
OR



                                       Submitter Information
Name: David Wilson
Address:
  Myrtle Point, 
OR, 
97458
Email: dscottwilson2002@yahoo.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381713
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
                                                                            Tracking No. 1jy-8f14-p918
                                                                            Comments Due: October 21, 2014
                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7233
MN



                                     Submitter Information
Name: Terrie Christian
Address:
  Plymouth, 
MN, 
55441
Email: terriepc@msn.com
Organization: NA


                                         General Comment
Dear Health and Human Services,

Employers have no business telling women and families what their health care regarding family planning can be.
This is not just a woman's issue, it is an economic issue for the whole country. If a woman cannot control her
fertility then she cannot truly be economically secure. Women today make up a large percentage of the
workforce and many are single mothers and/or the family's main breadwinner.

What is next? Employers telling people they cannot have some other form of health care that is against some
employer's religion? This should be unconstitutional based on the right to freedom FROM religion.

Please fix what the so called supreme court got wrong.




                                                                                               381714
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 132 of 456
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7234
ME



                                      Submitter Information
Name: Lindsey Piper
Address:
  Belfast, 
ME, 
04915
Email: lindsey@mabelwadsworth.org
Organization: NA


                                          General Comment
I am in support of the administrations efforts to ensure that women have coverage for the full range of
contraceptive methods without copays, no matter where they work. (not my boss' business act)




                                                                                                  381715
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 133 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7235
MI



                                       Submitter Information
Name: Judy Pigg Behrendt
Address:
  Kalamazoo, 
MI, 
49009
Email: prismx2@gmail.com
Organization: NA


                                           General Comment
The move to take away coverage for women's health care, i.e. birth control from their insurance, it an outrage.
This is against any past practice and shows a basic misunderstanding of the need for this coverage. Issues like
these, to limit women's access to birth control, is making coverage piecemeal to be removed one by one. As a
woman I have certainly used health care coverage provided by my employer for birth control, gynecological
treatment, cancer screening and other issues relating my health. Women need to be treated equally in society and
in their work life. We need the same consideration as men and it's wrong for men to decide what should be
provided to women. The Affordable Care Act has changed a lot about healthcare for many people who never had
this coverage before. It is saving health care dollars. Birth control is not a small issue and those that think that
women can buy this for themselves, creates an inequality for those that can't afford to do this,

This proposal to remove birth control coverage is nothing more than a right wing effort to prevent abortion or
what they have identified as the death of a fetus that is expelled due to birth control. This is makes no legitimate
sense and women should not be treated differently. Women can chose whatever to use whichever birth control
method they want or not. Providing birth control coverage allows for freedom of choice. Those that don't chose
birth control can do that without limiting other's choices. Women want their own ability to make decisions about
their lives, not have those decisions taken away or made for them.




                                                                                                    381716
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-qob4
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7236
MA



                                      Submitter Information
Name: Cheryl Zoll
Address:
  Florence, 
MA, 
01062
Email: czoll@tapestryhealth.org
Organization: NA


                                         General Comment
The government has a compelling interest in providing preventive health care for both men and women with no
cost-sharing or undue burden. By allowing corporations to determine, based on non-medical considerations,
whether a woman can easily access preventive services like contraception, violates her right of access. To expand
further the exemptions of Hobby Lobby is to further erode women's basic rights and does not serve the
government's interest.




                                                                                                381717
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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
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                                                                                Comments Due: October 21, 2014
                                                                                Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7237
PA



                                       Submitter Information
Name: Bill Deutschlander
Address:
  nw prov, 
PA, 
17560
Email: billastt@gmail.com
Organization: NA


                                           General Comment
Health care and reproductive rights are the sole responsibility of the individual or individuals.

Employers or government officials are not empowered by God to interfere or intimidate with this personal right.

Employers or government officials are not empowered to act as or for God!

Health care and reproductive decisions are SOLEY between the individual or individuals and their God!




                                                                                                    381718
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7238
CA



                                      Submitter Information
Name: Wallace Iimura
Address:
  CUPERTINO, 
CA, 
95014-2206
Email: WIIMURA@GMAIL.COM
Organization: NA


                                          General Comment
Providing free contraceptive coverage today will save health care costs in the long run.




                                                                                              381719
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7239
SD



                                       Submitter Information
Name: Jace DeCory
Address:
  Spearfish, 
SD, 
57783
Organization: NA


                                           General Comment
Respected Colleagues: It is my hope and prayers that you will seriously consider the consequences of interfering
with a woman's physical right to take care of her own body. As a Lakota grandmother, our governmental leaders
did not meddle in women's business-- these kinds of decisions were left to the women. How can the people (men
and women) make legislation or have governance over their mother, aunties, sisters or grandmothers' bodies? It
is ludicrous to our thinking. But since there is a law in the US government that allows women the right to
abortion, the right to choose, then this is still the law of the land. Men need to take care of their own bodies and
their own physical responsibilities. A woman knows the importance of life and can make decisions according to
her own individual mind and spirit. Thank you for listening. Be well, Jace DeCory




                                                                                                   381720
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7240
CO



                                       Submitter Information
Name: Beth Blomquist
Address:
  Golden, 
CO, 
80401
Email: khittee@yahoo.com
Organization: NA


                                           General Comment
As a concerned citizen, I seek to comment on new proposals to amend the federal health care law requiring for-
profit corporations and non-profit organizations, or else health insurance providers, to cover preventive health
services, such as contraception, without charging a co-payment. I understand that the federal government must
craft rules regarding the contraceptive mandate that comply with the Supreme Courts decision in Burwell v.
Hobby Lobby.

In drawing its accommodations, I urge the government to be guided by the purpose behind the contraception
mandate: to ensure women have complete access to preventive care, including contraception, without co-pay. As
any accommodations place an increased burden on women who have a right under the Affordable Care Act to
quality, affordable preventive care, accommodations must be limited to the greatest possible extent permissible
by law. In regards to for-profit corporations, I request that HHS crafts its rule to limit the definition of closely
held corporations to small companies where the ownership is restricted to a limited group of individuals who
actively participate in the management of the day-to-day operations of the corporation. Thank you for
considering my comments.




                                                                                                   381721
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7241
TX



                                      Submitter Information
Name: Susan and John Teague
Address:
  Austin, 
TX, 
78734
Email: susea@austin.rr.com
Organization: NA


                                          General Comment
My husband and I ask, please pass the Not My Boss Business Act to fix the Supreme Court's disastrous Hobby
Lobby ruling, We support the Obama administrations efforts to prevent bosses from denying women access to
contraception without co-pays.

I have a BS in Nursing and have fought for women's healthcare and privacy and personal choice all my life. We
believe that a woman's healthcare is between her and her doctor. We in the values this country was founded upon
of separation of church and state. We believe that private corporate entities and the courts and some religious
organizations are misguided and are trying to reach beyond the scope of good faith, fairness, common sense and
the Constitution of the USA. Is this what Judges do? Private corporate entities should not dictate to anyone their
healthcare.

We feel our Texas representatives who in the guise of religion force their misguided beliefs where they do not
belong and they do not speak for us! We consider them false prophets and pretenders. Because of dirty politics
and false religion, we wonder who protects women and their rights and their privacy in this country as the dog is
wagged and people suffer because money and powerful corporate interests talk too much. Our courts are not only
for the wealthy and powerful, the politically connected and private corporate entities and corporate religious
groups! Our country was founded on freedom of religion and our Courts should not allow a takeover of anyone's
individual personal freedom guaranteed under the Constitution of the USA!

We ask that the U.S. Department of Health and Human Services (HHS) ensure that women have birth control
coverage regardless of their bosses beliefs.


                                                                                                 381722
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7242
NC



                                     Submitter Information
Name: Samuel Speciale
Address:
  Asheville, 
NC, 
28806
Email: sgspeciale@yahoo.com
Organization: NA


                                         General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods. Birth control is
basic health care for women, and womens health care decisions should be made by women and their health care
providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity. I urge the Obama administration to do all it can to ensure that all women have
coverage for the full range of contraceptive methods without copays.




                                                                                                381723
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7243
MT



                                       Submitter Information
Name: Sandra DiMauro
Address:
  Great Falls, 
MT, 
59405
Email: miked1675@aol.com
Organization: none


                                          General Comment
It is critically important to me that for-profit corporations not be allowed to deny women coverage for the full
range of contraceptive methods.




                                                                                                   381724
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 142 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7244
OR



                                      Submitter Information
Name: Jay Humphrey
Address:
  Estacada, 
OR, 
97023-9417
Email: blue1jay@yahoo.com
Organization: NA


                                         General Comment
A woman's ability to access birth control through her health insurance should not be controlled by someone else's
moral beliefs. If my employer was a member of the Church of the First Born does that mean I shouldn't receive
health insurance or be limited to prayer for my health concerns? If my employer is a Jehovah Witness should I
not be covered for blood products? Could my Christian Scientist employer deny my blood pressure medication
that would place my live in peril. No! Of course not! Then why can an employer deny a woman birth control
coverage? Please support the half of our population who should be able to control their lives by using birth
control.




                                                                                                381725
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-ijuf
                                                                           Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7245
TX



                                     Submitter Information
Name: Karen Sharp
Address:
  Wolfforth, 
TX, 
79382
Email: karensharp@gmail.com
Organization: NA


                                         General Comment
Corporations are not people. Corporations should not be able to decide reproductive decisions for their
employees.
Every U.S. citizen should be able to make their own decisions about reproduction. Since males cannot reproduce,
women should have affordable or free (depending on income level) reproductive products available.




                                                                                               381726
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7246
WI



                                       Submitter Information
Name: Rebecca Brodie
Address:
  Milwaukee, 
WI, 
53207
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381727
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7247
MN



                                      Submitter Information
Name: Robert Allen
Address:
  West Saint Paul, 
MN, 
55118
Email: robert_allen_123@msn.com
Organization: My Self


                                         General Comment
A person's personal health has nothing to do with someone else having a religious belief!




                                                                                             381728
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PUBLIC SUBMISSION                                                        Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7248
NC



                                    Submitter Information
Name: Carolyn Pilgrim
Address:
  Waynesville, 
NC, 
28785
Email: crpilgm@gmail.com
Organization: NA


                                        General Comment
Medical decisions should be between a woman and her doctor. An employer has no business using religious
opinions dictate medical treatment for an employee.




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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7249
CA



                                     Submitter Information
Name: max calvillo
Address:
  saugus, 
CA, 
91350
Email: maxcalvillo@hotmail.com
Organization: NA


                                        General Comment
No more unwanted babies for the tax payers to support ! Thx




                                                                                        381730
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PUBLIC SUBMISSION                                                        Posted: July 13, 2015
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                                                                         Comments Due: October 21, 2014
                                                                         Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7250
KS



                                    Submitter Information
Name: Lil Peck
Address:
  Manhattan, 
KS, 
66502
Email: lilpeck@gmail.com
Organization: NA


                                        General Comment
Health care and prescriptions are PRIVATE and none of an employer's business.




                                                                                         381731
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7251
NY



                                      Submitter Information
Name: stacy rauch
Address:
  NY, 
10016
Email: stacyr27@earthlink.net
Organization: NA


                                          General Comment
No Boss, or man should have any involvement in my personal health choices. EVER!! They also should not be
allowed to decide if they want to treat me equally to a male employee in terms of prescription medications. They
must allow ANY and all medications- regardless of their personal choices/religious feelings. I feel this way about
religious organizations also. No religious organization should be allowed to deny coverage to any employee for
any prescription for any reason.




                                                                                                 381732
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7252
PA



                                       Submitter Information
Name: Karrin Herring
Address:
  Aliquippa, 
PA, 
15001
Email: drienzgood@Outlook.com
Organization: NA


                                           General Comment
I personally take offence to the direction of this country, in particular the GOP/right wing agenda to set the clock
back decades by attempting to destroy the fundamental right to decide what I want to do with MY body. When
and how I decide to take birth control or anything regarding my personal health. It is not my employer's business
to delve into my personal life and what my decision's are. Please don't let this happen to this country. We are
facing a critical point in the lives of women right now with the decision of the Supreme Court.




                                                                                                   381733
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7253
NH



                                       Submitter Information
Name: Virginia Johnston
Address:
  Pelham, 
NH, 
03076
Organization: NA


                                          General Comment
My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381734
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7254
PA



                                    Submitter Information
Name: Crissi Walturz
Address:
  Easton, 
PA, 
18042
Email: clutz801@hotmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Walturz-C_2014-10-15_24155699




                                                                                        381735
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Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381736
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 154 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Crissi Walturz
204 N 10th St
Easton, PA 18042




                                                                               381737
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7255
IL



                                     Submitter Information
Name: Kerry Kuhn
Address:
  Schaumburg, 
IL, 
60193
Email: kerrylkuhn@gmail.com
Organization: NA


                                        General Comment
Nobody other than my doctor has any business telling me what I can and cannot do with my health. It does not
matter if it is my reproductive health or any other part of me. It is ALL between me and my doctor (and my
spouse if I had one.)




                                                                                              381738
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
                                                                          Tracking No. 1jy-8f14-qqvl
                                                                          Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7256
aquitaine



                                       Submitter Information
Name: ana cleja
Address:
  fumel, 
aquitaine, 
France, 
47500
Email: ana.cleja@gmail.com
Organization: none


                                         General Comment
Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.




                                                                                            381739
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7257
GA



                                       Submitter Information
Name: Susan Kraus
Address:
  Young Harris, 
GA, 
30582
Email: krausms@yahoo.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381740
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7258
OR



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  Portland, 
OR, 
97222
Organization: NA


                                          General Comment
No one individual or small group of individual's should be able to determine access to any form of health care for
another.




                                                                                                 381741
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7259
OH



                                      Submitter Information
Name: Virginia Ekker
Address:
  Strongsville, 
OH, 
44136
Email: gekker59@aol.com
Organization: NA


                                          General Comment
I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. Birth control is basic health care for women, and womens health care decisions
should be made by women and their health care providers, not by bosses.




                                                                                                  381742
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7260
CA



                                      Submitter Information
Name: Douglas Holmes
Address:
  Danville, 
CA, 
94526
Email: dwholmes41@gmail.com
Organization: NA


                                          General Comment
Everyone is kidding, right?

This is no "deeply held religious belief" for Hobby Lobby. They make their profits buying product from China, a
country that forces abortions on women who already have one child, and then selling that product here for their
business purposes.

How does that fit with a "deeply held religious belief?"
Just another screaming example of hypocrisy for profit by US corporations.
Deeply held religious beliefs should play out in a person's or a corporation's practice. You know, "do what i do,
not what I say" and "By their fruits you shall know them."

I don't know how the Supreme Court Justices managed to overlook this jarring misapplication of their "logic,"
but you shouldn't overlook Hobby Lobby's own failure to practice their "deeply held religious belief."




                                                                                                  381743
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7261
FL



                                     Submitter Information
Name: Tracy Barnes
Address:
  Orlando, 
FL, 
32822
Email: Tracydcb@yahoo.com
Organization: NA


                                         General Comment
Men, in particular, have no business telling women what prescriptions they can take or what method of birth
control is appropriate. Women have unique medical situations which men will never suffer for. We certainly
don't need unwanted/unplanned children that are thrust upon us due to MALE SEXUAL ACTIVITY! That's
right, women don't get pregnant alone. But we sure do take care of the children alone, and usually in poverty.
WHY DO HEALTH INSURANCE COMPANIES PAY FOR VIAGRA AND THE SUCH AND YET NOT
BIRTH CONTROL? One activity leads to anther!!! ENFORCING CHILD SUPPORT LAWS, will also cut
down on unwanted pregnancies. MUCH CHEAPER TO AVOID A PREGNANCY THAN TO HAVE THE
CHILDREN AND THEN GO ON WELFARE!!! $230,000 to pay for a child's rearing before college! DOES
THE GOVERNMENT WANT TO REAR THE UNWANTED CHILDREN? No. DOES THE REPUBLICAN
PARTY WANT TO PAY TO REAR THE UNWANTED CHILDREN? No. Where does that leave us? AND
DON'T EVEN THINK OF THRUSTING RELIGIOUS BELIEFS ON THE REST OF US! I do not believe in
your God, nor any religion! Religion has no business in government! Just about everyone believes that - except
when its comes to "their" religion. Get rid of religion in government and we most likely would not even be
debating this issue!




                                                                                                381744
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7262
KS



                                      Submitter Information
Name: Robert Golden
Address:
  Shawnee, 
KS, 
66216
Email: bobgolden14@yahoo.com
Organization: erulemaking


                                         General Comment
Stay out of peoples personal business and focus only on your business. Everybody has the right to choice what to
do with their body and how to live their live as long as it does not interfere with others.
Coverage for preventive care should be allowed in all businesses.




                                                                                                381745
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7263
VT



                                       Submitter Information
Name: Mary Sonnekson
Address:
  VT, 
05143
Email: sunxsun@comcast.net
Organization: NA


                                           General Comment
I believe every woman should have access to contraceptions as part of insurance coverage, no matter who her
employer is, as that woman is paying for her insurance as part of her job. This is called religious freedom for her,
as her religious belief about it should take precedence over her employer's beliefs. The employer does not have to
use contraception if they believe it is evil, (strangely, most of the people loudly weighing in on it will never have
the problem, as they are men), but they have no right to impose their belief on someone else. Our Democracy
was created with religious freedom as it's core belief. Since our supreme court rulling, which I believe is a
travesty, this is not going to happen for certain women, and so it is the government's responsiblity to pick up
these costs.

With all the many years a woman has to worry about unwanted pregnancy, and then bears the stress and risks of
a pregnancy that she goes through when having a child, sometimes by herself, the man having abdicated his
responsibility; it is so despicable that there are people who have the temerity to inject themselves into a
discussion and decision that relates to women, when they are overwhelming people who will never have to
experience it.

There would be another way to deal with this, which would be to make contraception available for every woman
who needs it for free through her Doctor. Personally, I favor this. It should be no one's business what health care
choices a woman makes and this method would remove it completely from the scrutiny of people who are
zealots. Are we returning to the day of the Scarlett Letter? Please derail this scaffold of humilition that is being
set up for women.

Sincerely,
Mary Sonnekson
                                                                                                    381746
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7264
IL



                                      Submitter Information
Name: Charlotte Frisbie
Address:
  edwardsville, 
IL, 
62025
Organization: NA


                                         General Comment
It is VERY IMPORTANT to ALL WOMEN in this country that our health coverage INCLUDES all
contraceptive methods available without copays. THis should not be up to our employers to decide whether or
not we have that right; to even think that way puts human rights back in the dark ages in this country. Please
support our coverage without trying to chip away further at women's rights,




                                                                                                 381748
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7265
Staffordshire



                                     Submitter Information
Name: Edna Mullen
Address:
  Stoke-on-Trent, 
Staffordshire, 
United Kingdom, 
ST3 2AY
Email: mullentim13@yahoo.co.uk
Organization: NA


                                        General Comment
Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.


I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.




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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7266
CA



                                    Submitter Information
Name: ruth belonsky
Address:
  Hawthorne, 
CA, 
90250
Email: ruthbelonsky@gmail.com
Organization: not organization


                                        General Comment
The company's religious beliefs should not have control over my body. Every woman should have the same right
to Preventive Services under the Affordable Care Act, regardless of religious beliefs of the provider.




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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7267
HI



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  kailua kona, 
HI, 
96740
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods. Actually it
doesn't really matter if it is a for profit or non profit why should a woman's healthcare be dictated by an
employer?

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7268
MD



                                    Submitter Information
Name: Joseph Walstrum
Address:
  Parkville, 
MD, 
21234
Email: amsat11@gmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Walstrum-J_2014-10-4_24145972




                                                                                        381752
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Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381753
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many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Joseph Walstrum
9106 Covered Bridge Rd
Parkville, MD 21234




                                                                               381754
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7269
NY



                                      Submitter Information
Name: Miranda Trimmier
Address:
  Brooklyn, 
NY, 
11233
Email: mirandatrimmier@gmail.com
Organization: NA


                                          General Comment
I was horrified at the Supreme Court's Hobby Lobby decision. It's a totally inappropriate intrusion on a woman's
right to make health decisions for herself and her family. It's also a totally inappropriate intrusion on a woman's
right to build a healthy economic life for herself and her family. Access to free contraception gives women more
control over their economic situations. It's unconscionable to make women pay out of pocket -- or risk pregnancy
they can't afford -- because they have bosses who don't 'believe' in contraception. And when women have these
kinds of barriers to their individual and economic health, it's bad for US society at large.

I urge the Obama administration to do whatever it can to ensure that all women have access to free contraception.




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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7270
NC



                                      Submitter Information
Name: Stephen Fortune
Address:
  charlotte, 
NC, 
28205
Email: sfortune5427@yahoo.com
Organization: Mecklenburg CountyDemocratic Party


                                          General Comment
Every Woman has the right to Birth Control but not the type that causes birth defects or ovarian cancer either, the
currently products that cause these conditions must be removed from the market. All products that are cancer
causing should be removed from harming woman, from Shampoos, Conditioners, hair products, to skin products.
Without taking care of the Woman,our future generation of children have no hope to be born. For those that are
rapped, disable, handicapped because of these drugs should be compensated.All the manufactures of these
products must be fined, and federal charged, stop making these products period. Bring back the Sherman Anti-
Trust Act, and Make them responsible for the manufacturing products that are harmful and it will make a really
big difference in our future.

Stephen Paul Fortune
Chair Person MCDP
Mecklenburg County Democratic Party
We Stand for the People, especially the Woman and Children!
980 348 1458




                                                                                                  381756
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7271
CA



                                     Submitter Information
Name: Marijeanne Sarraille
Address:
  Pittsburg, 
CA, 
94565-5135
Email: msarrail@live.com
Organization: NA


                                        General Comment
All women should be able to obtain contraception for free? Do something!




                                                                                           381757
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PUBLIC SUBMISSION                                                                Posted: July 13, 2015
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                                                                                 Comments Due: October 21, 2014
                                                                                 Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7272
NY



                                        Submitter Information
Name: martin nydick
Address:
  ny, 
NY, 
10128
Email: glandoc195@aol.com
Organization: NA


                                            General Comment
Contraceptive services are necessary for a womans health. There is no logical/ethical excuse for an employer to
deny insurance coverage for that aspect of care. If they don't want to cover health at all, that is their option. But
to allow them to prescribe which kind of care a woman should get is interference with the womans rights and is
sex discrimination. Do they refuse Viagra coverage?
MNydick




                                                                                                     381758
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                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7273
TN



                                     Submitter Information
Name: Jean Gray
Address:
  Nashville, 
TN, 
37221
Email: jeanpgray@gmail.com
Organization: NA


                                         General Comment


Women should be able to make their decisions about their health --with their doctor and husband, partner

and family--not the government !! Not regulated by laws !!




                                                                                                381759
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7274
MT



                                     Submitter Information
Name: Ann King
Address:
  Busby, 
MT, 
59016
Email: moxieking@otmail.com
Organization: NA


                                         General Comment
I am writing to express my strongly held opinion that bosses have absolutely no business making any type of
healthcare decisions concerning their employees. There must remain a strong and clear separation between a boss
maintaining jurisdiction over work duties and keeping a clear distance from personal healthcare decisions over
the part of employees..




                                                                                               381760
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7275
OH



                                       Submitter Information
Name: Douglas Berger
Address:
  Findlay, 
OH, 
45840
Email: dberger@dougberger.net
Organization: NA


                                           General Comment
As a concerned citizen, I seek to comment on new proposals to amend the federal health care law requiring for-
profit corporations and non-profit organizations, or else health insurance providers, to cover preventive health
services, such as contraception, without charging a co-payment. I understand that the federal government must
craft rules regarding the contraceptive mandate that comply with the Supreme Courts decision in Burwell v.
Hobby Lobby.

In drawing its accommodations, I urge the government to be guided by the purpose behind the contraception
mandate: to ensure women have complete access to preventive care, including contraception, without co-pay. As
any accommodations place an increased burden on women who have a right under the Affordable Care Act to
quality, affordable preventive care, accommodations must be limited to the greatest possible extent permissible
by law. In regards to for-profit corporations, I request that HHS crafts its rule to limit the definition of closely
held corporations to small companies where the ownership is restricted to a limited group of individuals who
actively participate in the management of the day-to-day operations of the corporation. Thank you for
considering my comments.




                                                                                                   381761
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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
                                                                                Tracking No. 1jy-8f14-sj67
                                                                                Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7276
WI



                                        Submitter Information
Name: A S k
Address:
  WI, 
54635
Organization: NA


                                            General Comment
The BOSSES should stay out of OUR business........................


Also, the ACA is a good thing and is helping a lot of people..........
Let's give them another year for everybody to get things more in order.......



I don't see anybody else coming up with a better plan. GIVE IT A CHANCE!!!!!!!!!




                                                                                                381762
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
                                                                          Tracking No. 1jy-8f14-mmgd
                                                                          Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7277
MO



                                    Submitter Information
Name: Virginia Anderson-Dunbar
Address:
  St. Louis, 
MO, 
63036
Email: vadunbar@cwa6300.org
Organization: CWA


                                        General Comment
Women have the right to contraceptive coverage through insurance coverage. If men could get pregnant we
would not have these issue dealing with birth control.




                                                                                             381763
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7278
OR



                                     Submitter Information
Name: James Freeberg
Address:
  Ashland, 
OR, 
97520
Email: jfreeberg0@aol.com
Organization: NA


                                        General Comment
I strongly believe every woman should have coverage for the full range of contraceptive measures without
copays, and regardless of their bosses' beliefs!




                                                                                               381764
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-b3vx
                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7279
GA



                                      Submitter Information
Name: Lester Sheran
Address:
  Powder Springs, 
GA, 
30127
Organization: Hobby Lobby


                                         General Comment
Remember separation of Church and State? Who I work for has no jurisdication over what I believe. My
religious beliefs are personal and private and not subject to review, Because someone runs a business gives him
no right to impose his or her religious belief on me.




                                                                                                381765
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7280
CT



                                       Submitter Information
Name: John Hubbard
Address:
  New Haven, 
CT, 
06511
Email: johncraighubbard@gmail.com
Organization: NA


                                          General Comment
A woman's employer has no right, legally or religious, to impede her ability to access any health service or
medication, including birth control. This is a basic and egregious violation of individual right and needs to be
reversed immediately.




                                                                                                   381766
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                                                                          Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7281
NH



                                    Submitter Information
Name: Barbara HIrai
Address:
  NH, 
03784
Organization: NA


                                        General Comment
Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.




                                                                                            381767
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7282
CO



                                    Submitter Information
Name: Frances Frainaguirre
Address:
  Denver, 
CO, 
80211
Email: jaguirrejja@aol.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Frainaguirre-F_2014-10-6_24136472




                                                                                        381768
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 186 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381769
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many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Frances Frainaguirre
1840 W 40th Ave
Denver, CO 80211




                                                                               381770
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7283
CA



                                       Submitter Information
Name: Sylvia Selverston
Address:
  SAN DIEGO, 
CA, 
92111
Email: sillygranma@yahoo.com
Organization: NA


                                          General Comment
Only my doctor and I should make decisions regarding my health.
An employer can choose to hire me but not to be my doctor.

In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381771
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7284
IL



                                      Submitter Information
Name: george kiebala
Address:
  rolling meadows, 
IL, 
60008
Email: gkiebala@earthlink.net
Organization: NA


                                         General Comment
It seems simple... employers have no business at all deciding which forms of coverage will be allowed in
employees insurance plans. Certainly not based on anything having to do with religion.




                                                                                                381772
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7285
CT



                                      Submitter Information
Name: Mike Zello
Address:
  Wolcott, 
CT, 
06716
Email: w1vru@arrl.net
Organization: NA


                                          General Comment
The Hobby Lobby desicion, which is one of many poorly drawn desicions by this purely partisan Supreme Court
is a total
reversal and goes against the 1st Amendmant which references the "Seperation of Church and State". Jefferson
Davis
saw the ramifications of one religion creating laws that would limit the rights of other religions or groups in a
democratically free society. The Hobby Lobby desicion does just what Jefferson Davis warned would happen if
this was allowed to happen. This is just the first step in the removal of all our constitutional rights.

This Supreme Court scares the hell out of me and quite honestly believe that at some point in time, probably after
the "Roberts Court" is gone, this ruling will be seen for what it is, The Religious Right, trying to enact laws and
control
this nation, and will be overturned.




                                                                                                  381773
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7286
CA



                                      Submitter Information
Name: D. L.
Address:
  Santa Monica, 
CA, 
90405
Organization: NA


                                          General Comment
I support the administrations efforts to ensure that women have coverage for the full range of contraceptive
methods without co-pays, regardless of where they work.




                                                                                                 381774
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7287
WA



                                     Submitter Information
Name: Rev Minshew
Address:
  WA, 
98125
Organization: National Partnership


                                         General Comment
Employers have no business in healthcare. SCOTUS' decision is immoral. It needs to be changed. When an
employer is in anothers medical business it is invasive and immoral. What gives them the right to pick and
choose what health care options a person chooses? What will be next, men's viagra?
Medical issues are between a patient and the physician or other medical staff. Not the employer.
This decision of SCOTUS allows religion to be used in its most offensive way; to deny the right of another based
on a narrow minded prejudice. The Bible Says... is not a reason to deny medical options in our civil society.




                                                                                                381775
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7288
KS



                                      Submitter Information
Name: Roberta Schwartz
Address:
  Lawrence, 
KS, 
66046
Email: rfschwar@ku.edu
Organization: NA


                                         General Comment
I firmly believe that no corporation, no matter how tightly owned, should be allowed to make decisions about
what specific medications and treatments will be covered by an insurance plan. The ramifications are worrisome:
will closely held corporations owned by Christian Scientists be allowed to provide no health insurance? Or those
owned by Scientologists to omit psychiatric coverage? Moreover, the expense of certain birth control pills, which
are sometimes prescribed for reasons other than contraception, may be prohibitive for some women, denying
them needed treatment for endometriosis and other gynecological conditions.




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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7289
CA



                                       Submitter Information
Name: Andree Dailey
Address:
  Redwood City, 
CA, 
94062
Email: andi@sat.com
Organization: NA


                                          General Comment
I think this ruling sets a dangerous precedent by 1) allowing corporations to "have" religion" and 2) letting that
corporation have objections to medical care and decisions on the grounds of that "religion". This opens the door
to fraudulent claims based on "religious" beliefs which are really used to limit health care options. Just like as
what has already been done. Wonder why viagra isn't restricted?




                                                                                                   381777
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7290
OH



                                    Submitter Information
Name: Betty Combs
Address:
  Londonderry, 
OH, 
45647-9751
Email: Betty609@webtv.net
Organization: NA


                                        General Comment
All women should have coverage for the full range of contraceptive methods without copays. No matter where
they work. This is very important to all women. .




                                                                                             381778
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7291
NM



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  Santa Fe, 
NM, 
87506
Email: 98vetgrad@gmail.com
Organization: National Partnership for Women and Families


                                          General Comment
It is not acceptable that a business should be able to dictate healthcare to women. Reproductive rights should be
assured as part of any proper health care program. Reproductive rights are essential to women's health, welfare
and freedom. It is not a matter that should be determined by a third party that knows nothing of a woman's
private health or life situation.

Please take the proper steps to insure that women and their rights are protected.

Thank you.




                                                                                                  381779
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-psh6
                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7292
WI



                                     Submitter Information
Name: Elizabeth Dahlk
Address:
  Milwaukee, 
WI, 
53212
Organization: NA


                                        General Comment
One's personal beliefs should not be allowed to deny the rights of others. Our nation's Constitution and laws
protect an individual's right to make choices, in this case to choose when to be a parent. As citizens we are
required by law to pay taxes, some of which may go toward policies one may not support, but we understand that
the government serves the needs of the majority. Employers must not have the power to deny their employees
health care.




                                                                                              381780
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7293
LA



                                     Submitter Information
Name: Elizabeth Smith
Address:
  New Orleans, 
LA, 
70117
Email: smithe2383@hotmail.com
Organization: NA


                                        General Comment
PLEASE pass the Not My Boss' Business Act! The Hobby Lobby ruling is nothing but yet another misogynistic
attack in this country, using religion as an excuse to spread their hate. The singling out of women and their
healthcare decisions is disgusting.




                                                                                              381781
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7294
CA



                                     Submitter Information
Name: George Goffe
Address:
  San Jose, 
CA, 
95124-6542
Email: grgoffe@yahoo.com
Organization: NA


                                        General Comment
As I see it, the Supreme Court has sanctioned the imposition of OTHER PEOPLES religious beliefs on their
employees. The Justices who voted for this travesty should be impeached because they are NOT doing their jobs
and are in fact, violating the very constitution they have been put into office to defend.




                                                                                              381782
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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7295
CO



                                       Submitter Information
Name: Scott Engles
Address:
  Fort Collins, 
CO, 
80524
Organization: NA


                                           General Comment
I know that the following paragraph was composed by someone other than myself, but it says what I believe in a
better way than I could.

The Proposed Rule only makes the situation worse for closely-held for-profit organizations because, instead of
exempting them, it requires them to facilitate contraceptive coverage. I urge you to rescind the Administration's
contraceptive mandate. All organizations and individuals should be allowed to offer, sponsor, and obtain health
coverage that does not violate their moral and religious convictions.

The contraceptive mandate is NOT good health care; in fact it is the opposite. Therefore, there are at least two
good reasons for opposing it: first, it coerces others to participate in, and enable it, and second, what they are
participating in and enabling is bad, not good.




                                                                                                    381783
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7296
CO



                                       Submitter Information
Name: Lisa Goodrich
Address:
  Boulder, 
CO, 
80302
Email: lisagdance@gmail.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381784
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-265x
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7297
OH



                                      Submitter Information
Name: Michele-Marie Merritt
Address:
  Cincinnati, 
OH, 
45248
Email: MickeyMerritt@zoomtown.com
Organization: NA


                                          General Comment
I feel that employers have no right to determine what type, if any, birth control method should be used by their
employees.




                                                                                                  381785
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7298
CA



                                      Submitter Information
Name: Maxine Litwak
Address:
  Novato, 
CA, 
94949
Email: mglitwak@umich.edu
Organization: NA


                                         General Comment
A woman's health is her own business. It is essential that she be able to determine what is correct for her (in
concert with her chosen health care provider's advice). Her workplace boss and his beliefs should have NO part
in determining her care.

In light of the harmful decision by the Supreme Court in the Hobby Lobby case, I strongly urge the Obama
administration to do all it can to create strong rules protecting all women's health, and very narrowly defining
"closely held for-profit entity". I fully support the Administration in ensuring that women can make their own
health care decision--and especially that all women have coverage for the FULL range of contraceptive methods
without copays.

Thank you.




                                                                                                381786
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7299
MO



                                      Submitter Information
Name: Jane Wood
Address:
  St Louis, 
MO, 
63108
Email: jane.f.wood@gmail.com
Organization: NA


                                          General Comment
Birth control is not an employer's right. I urge the Obama Administration to do all it can to ensure that all women
have coverage for a full range of contraceptive methods without copays.




                                                                                                  381787
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7300
TX



                                      Submitter Information
Name: Jill Alcott
Address:
  Dallas, 
TX, 
75214
Email: Jillalcott@gmail.com
Organization: NA


                                         General Comment
It's not anyone's business but the woman's. Everyone else should stay out of Vaginas without Invitation!




                                                                                                 381788
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7301
CA



                                       Submitter Information
Name: Clyde Willson
Address:
  Oakland, 
CA, 
94606
Organization: Planned Parenthood


                                          General Comment
Please adopt regulations to the effect that women are entitled to contraceptive coverage regardless of the belief
system(s) of the employer. Thank you for listening!




                                                                                                   381789
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7302
NC



                                      Submitter Information
Name: Myron and Barbara Dice
Address:
  Pinehurst, 
NC, 
28374
Email: mbdice@earthlink.net
Organization: NA


                                         General Comment
All Americans deserve all preventive tests and procedures so that our
medical costs will go down and also keep unnecessary persons out
of the high cost of ER visits. There should NOT be discrimination
on any level for health care in the greatest nation in the world.
Corporations DO NOT have the right to pick and chose what
they will pay for in any circumstance.




                                                                                        381790
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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7303
CA



                                        Submitter Information
Name: Chris Dawson
Address:
  Playa Del Rey, 
CA, 
90293
Email: chrisddawson@ca.rr.com
Organization: NA


                                           General Comment
I feel that preventing access to birth control by the government or private industry, is a violation of a Civil Right.
While my religious beliefs are against it, that is for me as an individual to decide and does not apply to anyone
else, unless they so believe and so choose. I do not believe that the religious moral grounds should make law.

Please do not prevent a woman's access to medical care based only on religious/social morals. Leave it to the
individual to decide.

After all, if we wouldallow an individual the right to carry a tool that is made solely to kill other humans - guns
(which I am also opposed to) - then we should also have the right to a pill/procedure that does the same. Leave it
to the person to decide.




                                                                                                     381791
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7304
NC



                                      Submitter Information
Name: Virginia Anonymous
Address:
  NC, 
28718
Organization: NA


                                          General Comment
Every woman should have access to contraception through her health insurance. Business owners and officers
should not be able to say whether or what kind of contraception is "acceptable" to them. A woman's health care
decisions should only be between that woman and her doctor. I support the Obama administration's efforts to
ensure that all women have access to contraception coverage without copays, regardless of their bosses' beliefs.




                                                                                                 381792
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
                                                                          Tracking No. 1jy-8f14-k889
                                                                          Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7305
TX



                                    Submitter Information
Name: Gina Mundy
Address:
  Austin, 
TX, 
78730
Email: gmundy@builderhomesite.com
Organization: NA


                                        General Comment
Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by their bosses.




                                                                                            381793
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
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                                                                          Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7306
CA



                                    Submitter Information
Name: lynda leigh
Address:
  Santa Cruz, 
CA, 
95062
Email: lynda.leigh1@gmail.com
Organization: NA


                                        General Comment
Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.




                                                                                            381794
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PUBLIC SUBMISSION                                                        Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7307
PA



                                    Submitter Information
Name: Michael GrowMiller
Address:
  Glenside, 
PA, 
19038
Email: mpgrowmiller@gmail.com
Organization: NA


                                        General Comment
Where will this "religious exemption" crazy talk end? How does a voluntary membership organization usurped
the right over tax paying citizens?




                                                                                            381795
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7308
MN



                                      Submitter Information
Name: Colleen Mashuga
Address:
  Saint Paul, 
MN, 
55122
Organization: NA


                                          General Comment
The Proposed Rule only makes the situation worse for closely-held for-profit organizations because, instead of
exempting them, it requires them to facilitate contraceptive coverage. I urge you to rescind the Administration's
contraceptive mandate. All organizations and individuals should be allowed to offer, sponsor, and obtain health
coverage that does not violate their moral and religious convictions.




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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7309
NJ



                                    Submitter Information
Name: Matthew Franck
Address:
  Highland Park, 
NJ, 
08904
Email: cnjmatt@optonline.net
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Franck-M_2014-10-3_24141846




                                                                                        381797
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Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381798
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many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Matthew Franck
19 Raritan Ave Apt B5
Highland Park, NJ 08904

7323090520




                                                                               381799
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7310
CO



                                      Submitter Information
Name: Laurie Kleisinger
Address:
  Edwards, 
CO, 
81632
Email: lauriekleisinger@gmail.com
Organization: NA


                                         General Comment
Birth control is a personal health care decision that is an essential part of women's basic health care, not to
mention an incredibly powerful economic decision for an individual and/or family. Not only is the requirement
of payment for birth control a burden on someone who is poor, the result of no birth control - an unplanned
pregnancy - can be economically devastating creating cycles of poverty. Allowing businesses to opt out of
providing this coverage as dictated by the ACA is dangerous and misguided. It accelerates the slide down that
slippery slope that allows misogyny to be legislated. It allows the views and biases of the powerful few to be
forced upon the many, thus taking away their freedoms - exactly the opposite of what the US Constitution and
the spirit of the USA stands for.

Thank you for your consideration.




                                                                                                 381800
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                                                                          Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7311
GA



                                     Submitter Information
Name: Judy Brouillette
Address:
  Columbus, 
GA, 
31901
Email: jfbtyndrum@knology.net
Organization: NA


                                        General Comment
All businesses should be held responsible for providing contraceptive coverage to female employees. Unwanted
pregnancies cause much suffering and poverty, not to mention abuse of children.




                                                                                             381801
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7312
TX



                                       Submitter Information
Name: Joyce Couvillion
Address:
  Houston, 
TX, 
77077
Organization: National Partnership for Women and Families


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

If owners of "closely-held" corporations want their business to follow their religion, they need to dissolve the
corporation do business another way. By imposing their religion on the business itself, they are piercing the
corporate shield and no longer deserve the protections offered by a corporate structure.


My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381802
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 220 of 456
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-qgk5
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7313
WA



                                      Submitter Information
Name: Jeffrey Panciera
Address:
  Seattle, 
WA, 
98118
Email: jeffiejimmie@gmail.com
Organization: none


                                          General Comment
Women's contraception is clearly a part of women's health care. The choice of whether to use it as part of health
care clearly, just as clearly, belongs to the woman counseled by her doctor. ALL products and procedures
necessary for a healthy life should be on the table and available to all health care consumers. Companies owned
by Jehovah Witnesses should not be able to block coverage for blood transfusions, companies owned by
Christian Scientists should not be able to block all medical care, and businesses owned by Catholics should not
be able to block coverage for a service that is used by nearly ALL Catholic women at some time during their
lives. The various practices and rules of various religion are a vestige of a more superstitious age during which
people killed each other over religious differences. There are those in the world today who are trying to extend
the age of superstition, killing and suffering. They must not win.




                                                                                                  381803
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-8qob
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7314
TX



                                       Submitter Information
Name: Ed Werth
Address:
  Dallas, 
TX, 
75223-1239
Email: eswerth@gmail.com
Organization: NA


                                           General Comment
It would seem that it would not be possible to say that owners of businesses as well as all of their employees
have the same religious beliefs. Our founding fathers were intelligent enough to understand this and provided for
the freedom for each of us to believe or not believe in any religion of our choice without penalty for doing so. I
believe that it is wrong to allow any person or organization to penalize another for their beliefs or no beliefs. As
it has been said, it is none of their business.

Sincerely,

Ed Werth




                                                                                                   381804
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-vdpk
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7315
OR



                                       Submitter Information
Name: Carol Doehne
Address:
  Portland, 
OR, 
97223
Email: cdoehne@gmail.com
Organization: NA


                                          General Comment
It is critically important to me that for-profit corporations not be allowed to deny women coverage for the full
range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381805
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                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7316
TN



                                      Submitter Information
Name: jennifer johns
Address:
  Nashville, 
TN, 
37218
Email: jjjohns32@hotmail.com
Organization: NA


                                         General Comment
I have a right to choose birth control and that should be a provided option by my health insurance coverage
provided to me by my employer.




                                                                                                 381806
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7317
MO



                                       Submitter Information
Name: Mindy Rouff
Address:
  St.Louis, 
MO, 
63116
Email: mmrouff@gmail.com
Organization: NA


                                           General Comment
Please do everything you can to ensure women have access to low cost contraceptives through their health
insurance. No boss should be able to deny a woman her choice of birth control. I have endometriosis and chronic
pelvic pain and I've been prescribed birth control pills for these conditions & no one has a right to interfere with
that situation. Even if a woman doesn't take birth control pills for health & takes them for birth control, as
intended, no boss or politician should interfere in that situation. Finally, I have been uninsured before & birth
control pills were not cheap. In fact, I had to rely on Planned Parenthood. Women should not be burdened with
higher birth control costs due to the religious beliefs of her boss.




                                                                                                   381807
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7318
NY



                                    Submitter Information
Name: Alvaro Franco
Address:
  New York, 
NY, 
10465
Email: agfranco89@gmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Franco-A_2014-10-7_24148727




                                                                                        381808
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 226 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381809
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 227 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

ÁLvaro Franco
3058 Cross Bronx Expy
New York, NY 10465




                                                                               381810
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7319
TX



                                    Submitter Information
Name: Aninymous Anonymous
Address:
  Austin, 
TX, 
78701
Email: mgaubry@earthlink.net
Organization: DANA


                                        General Comment
This bill MUST pass.....




                                                                                        381811
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7320
KY



                                     Submitter Information
Name: Rachel Onstott
Address:
  Louisville, 
KY, 
40206
Email: emailracheljo@yahoo.com
Organization: National Partnership for Women & Families


                                        General Comment
I believe every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.




                                                                                              381812
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7321
AR



                                     Submitter Information
Name: Anonymous Anonymous
Address:
  AR, 
72211
Organization: NA


                                         General Comment
Please allow any woman the right to her choice of birth control. Any woman should have the right to choose or
not choose to use birth control. Every child conceived has a birth right to be wanted.




                                                                                               381813
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7322
NE



                                       Submitter Information
Name: Jeanne Neumann Glasford
Address:
  Omaha, 
NE, 
68106
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.

Thank you,
Jeanne E. Neumann Glasford




                                                                                                   381814
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7323
CA



                                       Submitter Information
Name: Margie Mulligan
Address:
  Hemet, 
CA, 
92543
Email: engyheal@earthlink.net
Organization: NA


                                          General Comment
Since the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381815
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7324
PA



                                      Submitter Information
Name: Mary Clark
Address:
  Elkins Park, 
PA, 
19027
Email: mary@strategicdesign.us.com
Organization: NA


                                          General Comment
One's employer having *any* say -- or even any information -- about *any* of their male or female employees'
personal health issues -- including access to contraception, family planning, and abortion -- puts the employee's
health and well being at risk, and impacts public health and wellbeing also.

The Affordable Care Act has it totally right about access to contraception for women and men with no co-pay.

Individuals' right to medical privacy about our very bodies and health must be protected from meddling by all
employers. Employers should not ever have power over anything their employees do that is not part of their
actual jobs. It's gross overreach and a recipe for medical and social disaster.

Furthermore, Freedom of Religion is a fundamental American right -- for we the PEOPLE, not for we the
BOSSES or we the CORPORATIONS... Employers' Religious Beliefs should *never* be allowed to trump their
employees' Religious Freedom.

That is nothing but RELIGIOUS TYRANNY.

As a critical agency whose mandate is to serve and protect American's public health and economic wellbeing, the
CMS MUST stand for our best health freedom and our religious freedom.

PLEASE, stand for justice and health. Protect our rights for coverage of ALL legal medical services



                                                                                                  381816
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7325
TX



                                       Submitter Information
Name: Harry Boucher
Address:
  Dallas, 
TX, 
75254
Email: sonnyboucher@hotmail.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts removing an individuals right to freedom of choice in the WRONG,
RELIGIOUS DRIVEN and HARMFUL Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

I support: All and any efforts efforts to ensure that all women have contraceptive coverage regardless of their
bosses beliefs. We need strong rules that protect womens health and that narrowly define closely held for-profit
entity.

Birth control is NOT a bosss business or HIS decision in a PERSON'S PRIVATE LIFE to do harm or to hamper,
retard, a person's freedom of choice in anyway. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                  381817
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
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                                                                          Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7326
PA



                                    Submitter Information
Name: Anonymous Anonymous
Address:
  PA, 
15301
Organization: NA


                                        General Comment
Women should have the right to choose their method of contraception and have complete access to what they
want. Religious beliefs of their employees should not make that most private decision for them.




                                                                                             381818
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
                                                                          Tracking No. 1jy-8f14-51l9
                                                                          Comments Due: October 21, 2014
                                                                          Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7327
LA



                                    Submitter Information
Name: lawrence wiedemann
Address:
  Metairie, 
LA, 
70005
Email: ldwiedemann@gmail.com
Organization: Mr.


                                        General Comment
A woman should have the right to determine whether, or not, she wishes tio become pregnant, and when.




                                                                                             381819
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7328
OR



                                       Submitter Information
Name: Veronica Z
Address:
  Florence, 
OR, 
97439
Email: vcz1@oregonfast.net
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381820
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-i10n
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7329
WA



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  Everson, 
WA, 
98247-943
Email: soares6474@gmail.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381821
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7330
CT



                                      Submitter Information
Name: Sarah Berry
Address:
  New Haven, 
CT, 
06511
Email: sarah.berry@yale.edu
Organization: NA


                                         General Comment
Dear Madam or Sir;
Birth Control is a basic health care need for women - and men - and should not be subject to an employer's
opinion. In addition, due to HIPPA regulations and privacy, birth control should not be in an employer's purview.

The expense of medical insurance is so critical to whether a woman actually receives medical care that I also
believe birth control should be provided without a copay. The Supreme Court's decision is especially harmful to
poorer women, as it is mostly the poor that are stuck in low paying jobs such as those found at Hobby Lobby.
Thank you,
Sarah Berry




                                                                                                381822
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PUBLIC SUBMISSION                                                                Posted: July 13, 2015
                                                                                 Tracking No. 1jy-8f14-w1c6
                                                                                 Comments Due: October 21, 2014
                                                                                 Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7331
IL



                                        Submitter Information
Name: Chris Caron
Address:
  Franklin Park, 
IL, 
60131
Organization: NA


                                            General Comment
Medication is medication, no doubt about it, birth control IS medication. It's used to treat a multitude of medical
issues. AND it helps couples have healthy sex lives and allow for children when couples are mentally,
physically, and financially ready.

Contraception is the responsibility of everyone! Too many children are born in this world to parents who
can't/won't take care of them. Further taxing the system in place to care for such children. Additionally, the
adoption process can't handle the number of children that need placement.

Secondly the amount of money necessary to care for these children ultimately comes from the tax payers. AND
the safety nets used to care for these children are always in jeopardy from political groups who feel it's not a
citizens responsibility to care for abandoned children. Thus further creating the problem of run aways, child
trafficking, drug abuse, criminal activity, and incarceration of children left to the streets, and not raised in loving
homes. Who pays for all of that if not the tax payer? It's folly to believe our country would be better served
without social monetary support.

More tax payer money is spent during the life of an abandoned child than on the contraception necessary to
prevent the unwanted pregnancy. I understand the religious reasons for "right to life" and the want to not abort
children. So I say lets focus our efforts on preventing the pregnancy to begin with. Make "the Pill", condoms,
"the morning after pill", etc... more available! Preventing pregnancy is key to lowering expenditures of "safety
nets", penal institutions, and low income crime.




                                                                                                      381823
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 241 of 456
                                                                             As of: November 03, 2017
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                                                                             Status: Posted
PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7332
TX



                                      Submitter Information
Name: Becky Berry
Address:
  Stephenville, 
TX, 
76401
Email: rebeccalynn.berry@yahoo.com
Organization: NA


                                          General Comment
The Hobby Lobby decision is despicable. A corporation forcing its religious beliefs on its employees is just
wrong. It is also unconstitutional, or was.




                                                                                                 381824
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 242 of 456
                                                                               As of: November 03, 2017
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-ov5g
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7333
NY



                                       Submitter Information
Name: Howard Goldstein
Address:
  New York, 
NY, 
10033
Email: hgoldstein@gsrlaw.com
Organization: NA


                                           General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

Birth control is not a woman's boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381825
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 243 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-vbrj
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7334
PA



                                       Submitter Information
Name: Mark Zang
Address:
  Pittsburgh, 
PA, 
15207-1752
Email: zangkram@gmail.com
Organization: NA


                                          General Comment
A woman's personal rights (any person's personal rights) should be given more consideration than any
individual's moral, ethical, or religious views when it comes to following the rule of law. It falls under the aegis
of "separation of church and state". Those who object because of what they say are Christian values are reminded
of the New Testament "render to Caesar what are Caesar's". Keep personal beliefs personal, but all should follow
the law equally. Do not give in to the Hobby Lobby, for that would merely open a loophole for anyone to deny
any woman her rights.
If I object to some governmental allocation and I withhold that percentage of my tax money, "on moral grounds",
then I will be fined and possibly jailed. If the law were changed to allow my action, I'm sure many would jump
on the bandwagon, and the ability to levy taxes would be undermined.
We can't allow individual "exceptions" to our laws, our system, or our laws and our system will lose the ability to
function properly.
This is merely one more veiled attack on the Affordable Care Act.
Do not allow it.




                                                                                                   381826
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 244 of 456
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                                                                             Status: Posted
PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-hsrl
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7335
AL



                                      Submitter Information
Name: terri tippett
Address:
  Huntsville, 
AL, 
35802
Organization: NA


                                          General Comment
support the administrations efforts to ensure that women have coverage for the full range of contraceptive
methods without copays, no matter where they work.




                                                                                                 381827
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 245 of 456
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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
                                                                                Tracking No. 1jy-8f14-sk2n
                                                                                Comments Due: October 21, 2014
                                                                                Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7336
MA



                                        Submitter Information
Name: Christine M. Roane
Address:
  Springfield, 
MA, 
01104
Email: cmroane@cool-universe.com
Organization: NA


                                           General Comment
I am writing to register my support for the Obama administrations efforts to prevent bosses from denying women
access to contraception without copays. As American citizens with equal rights - coverage of women's birth
control - should in no way be barred because of their bosses beliefs.

Freedom of religion and freedom from religion -- are cherished freedoms for living, breathing people, not for
business entities.

The right of a woman to control when she has children is the single, most powerful determinant of her future
economic security - or a life in poverty.

Businesses must not be allowed to discriminate against - and financially punish women on the grounds of
religion.

If a business does not abide by the law of the land - because of it's religion, the business should be dissolved, -
and the devout may form a church.




                                                                                                     381828
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 246 of 456
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-fat3
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7337
IL



                                    Submitter Information
Name: Gwendolyn Walski
Address:
  Oak Park, 
IL, 
60304
Email: gwalski@sbcglobal.net
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Walski-G_2014-10-14_24150160




                                                                                        381829
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 247 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381830
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 248 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Gwendolyn Walski
1139 Clinton Ave
Oak Park, IL 60304

7083866907




                                                                               381831
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 249 of 456
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7338
KS



                                     Submitter Information
Name: Terry Barham
Address:
  KS, 
66109
Organization: NA


                                         General Comment
Friends,

Women should have the right to decide what's best for themselves, their well-being, their bodies, their
reproductive systems -- not company bosses and boards. We don't live in the "dark ages" of old thought--where
women were to stay home, raise kids, not speak up but have men do the talking. We live in a time of individuals
being able to make choices. Women are individuals, contributors to the well-being of our country just like men.
Let women out of the men-imposed barriers now.

Terry Barham




                                                                                                381832
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-6dsu
                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7339
WI



                                       Submitter Information
Name: Julie Korn
Address:
  WI, 
54729
Organization: NA


                                          General Comment
The amount of children we have in our family is our decision, not anyone elses. Religion should have no choce
in my decision, or my family. What happened to separation of church and state? I do not tell them they cannot do
something because I make a choice, be it children, food, housing, or the pets I chose. The products I buy. None
of this is their decision it is ours. I expect the same from everyone else.Birth control is a personal decision, and
cuts the abortion rates down to near zero. I do not understand why noone seems to see this.You want less
abortions, stay out of the birth control decision. It is not yours to make.




                                                                                                   381833
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7340
MI



                                     Submitter Information
Name: Anonymous Anonymous
Address:
  MI, 
48161
Organization: NA


                                         General Comment
Since the beginning of time rich men and religious sects have been trying to keep we women and less well-to-do
or poor people down and tell us what to do with our bodies, children, and futures. Now Mother Earth will show
you what corruption, greed and violent unhealthy pollution of mind, body, and souls effects. It's all over now
baby blue. You just don't care and Michael Moore was right - STUPID WHITE MEN. We relations of this earth
oppose you and shake our heads at your destruction-even if you think a right-winged stupid secret sect of so
called Jesus businessmen and the unintelligent elite + Tea Party will get you all the money and power in the
world. You aren't fooling anyone.




                                                                                               381834
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-na8o
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                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7341
IA



                                    Submitter Information
Name: Dave Frank
Address:
  Ankeny, 
IA, 
50023
Email: dfrank1214@mchsi.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Frank-D_2014-10-3_24149679




                                                                                        381835
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 253 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381836
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 254 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Dave Frank
1214 NW Cedarwood Dr
Ankeny, IA 50023




                                                                               381837
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 255 of 456
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7342
OR



                                       Submitter Information
Name: Kyle Rolnick
Address:
  Lorane, 
OR, 
97451
Organization: NA


                                          General Comment
All women have a right to birth control coverage. This should be a woman's choice, not an employer's choice.
It is discrimination when the employer excludes this type of coverage and it is discrimination that you allow it. A
business has no religious beliefs. This is not expressing freedom of religion, this is forcing the person who
controls the businesses' religious beliefs on it's employees: it is the opposite of freedom of religion.
The Affordable care act should provide the same rights to ALL.
Thank you.




                                                                                                  381838
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
                                                                          Tracking No. 1jy-8f14-hf0i
                                                                          Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7343
TX



                                    Submitter Information
Name: Brooke Seals
Address:
  Houston, 
TX, 
77072
Email: brookeaseals@gmail.com
Organization: NA


                                        General Comment
All employers should be required to provide unamended coverage for their employees.




                                                                                          381839
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
                                                                          Tracking No. 1jy-8f14-x905
                                                                          Comments Due: October 21, 2014
                                                                          Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7344
CO



                                    Submitter Information
Name: Carole Onderdonk
Address:
  Eagle, 
CO, 
81631
Email: conderdonk0316@gmail.com
Organization: NA


                                        General Comment
Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.




                                                                                            381840
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 258 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-1rs1
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7345
PA



                                       Submitter Information
Name: John Csaszar
Address:
  Fleetwood, 
PA, 
19522
Email: jcsaszar@gmail.com
Organization: NA


                                          General Comment

In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

Women's birth control is not the boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381841
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 259 of 456
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                                                                             Status: Posted
PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7346
MN



                                      Submitter Information
Name: Susan Hempel
Address:
  Rockford, 
MN, 
55373
Organization: NA


                                         General Comment
We need to keep employers out of the healthcare of their workers. Employers views have no rights to be between
an employee and their doctor. Don't throw your religious beliefs onto others, it is your own relationship between
you and your God. What happened to separation between church and state!?




                                                                                                381842
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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
                                                                                Tracking No. 1jy-8f14-l3bv
                                                                                Comments Due: October 21, 2014
                                                                                Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7347
ME



                                       Submitter Information
Name: James Taylor
Address:
  Houlton, 
ME, 
04730
Email: jim.taylor@ieee.org
Organization: National Partnership for Women & Families


                                           General Comment
I believe that it is critically important to me that for-profit corporations (like Hobby Lobby) not be allowed to
deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, NOT BY EMPLOYERS.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

Birth control is not a boss business. I urge the Obama administration to do all it can to ensure that all women
have coverage for the full range of contraceptive methods without copays.




                                                                                                    381843
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 261 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-o8b6
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7348
NY



                                       Submitter Information
Name: Crystal Smith
Address:
  West Nyack, 
NY, 
10994
Email: ms_crys_smith@yahoo.com
Organization: National Partnership for Women and Families


                                           General Comment
The Not My Boss' Business Act is extremely important and needs to be passed. My employer has no right to
invade my personal life and dictate what happens in it. If this is allowed then what else will it introduce in the
future? If employers can control this intimate, private aspect of people's lives, then when will it end? A line
needs to be drawn now. I believe it is responsible for individuals to use contraceptives and to put barriers on that
will hurt society at large. Let us make the right decision today!




                                                                                                    381844
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 262 of 456
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                                                                        Status: Posted
PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-7k93
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7349
NY



                                    Submitter Information
Name: Merrill Frank
Address:
  Jackson Heights, 
NY, 
11372
Email: M664@AOL.COM
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Frank-M_2014-10-3_24146224




                                                                                        381845
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 263 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381846
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 264 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Merrill Frank
33-25 92nd St, #5J
Jackson Heights, NY 11372




                                                                               381847
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 265 of 456
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-cnkc
                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7350
CA



                                     Submitter Information
Name: Phyllis Lager
Address:
  Livermore, 
CA, 
94550
Email: phyllis@privateplanets.net
Organization: National Partnership for Women & Families


                                        General Comment
Contraception coverage without copayments should be available to all women. Corporations, politicians, bosses,
or others should not be allowed to deny these rights!




                                                                                              381848
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 266 of 456
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                                                                        Status: Posted
PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-3xxm
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7351
HI



                                    Submitter Information
Name: Jacqui Skill
Address:
  lahina, 
HI, 
96761
Email: jjinparadise@gmail.com
Organization: Women's rights


                                        General Comment
Women should have the right to contraception!




                                                                                        381849
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 267 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-jsg7
                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7352
TX



                                      Submitter Information
Name: Barbara Navarro
Address:
  Magnolia, 
TX, 
77355
Email: bnavarro48@yahoo.com
Organization: NA


                                         General Comment
The owners of Hobby Lobby have a right to decide what contraceptive coverage is right for them and their
families, based on their religious convictions. They do not have the right to make that decision for their
employees. No employer should have the right to impose their religious values on their employees' private lives.




                                                                                                381850
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 268 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-yaz3
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7353
CA



                                       Submitter Information
Name: Colleen Abel
Address:
  CA, 
90064
Organization: NA


                                           General Comment
As a concerned citizen, I seek to comment on new proposals to amend the federal health care law requiring for-
profit corporations and non-profit organizations, or else health insurance providers, to cover preventive health
services, such as contraception, without charging a co-payment. I understand that the federal government must
craft rules regarding the contraceptive mandate that comply with the Supreme Courts decision in Burwell v.
Hobby Lobby.

In drawing its accommodations, I urge the government to be guided by the purpose behind the contraception
mandate: to ensure women have complete access to preventive care, including contraception, without co-pay. As
any accommodations place an increased burden on women who have a right under the Affordable Care Act to
quality, affordable preventive care, accommodations must be limited to the greatest possible extent permissible
by law. In regards to for-profit corporations, I request that HHS crafts its rule to limit the definition of closely
held corporations to small companies where the ownership is restricted to a limited group of individuals who
actively participate in the management of the day-to-day operations of the corporation. Thank you for
considering my comments.




                                                                                                   381851
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 269 of 456
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
                                                                            Tracking No. 1jy-8f14-kmqg
                                                                            Comments Due: October 21, 2014
                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7354
NM



                                      Submitter Information
Name: Carlin Freeman
Address:
  Albuquerque, 
NM, 
87110
Email: linfree@rocketmail.com
Organization: Myself


                                         General Comment
This is a private medical issue. It is the law of the land that HIPPA regulations apply. Birth control has been
available to women and families(including vasectomy) for over half a century. In the name of religious rights,
people have tried polygamy, enslavement, disfigurement, starvation etc.,etc. It is a false use of the right. No
owner of a company is required to use the services of a practitioner of medicine or gynecogy for themselves. But
once they have entered the public sphere, other rights and obligations apply. If we cannot modify insurance law
to cover usual medical practice then the people of the United States have no alternative but to institute single
payer insurance for all to cut the bizarre and medieval beliefs of a few out of our public discourse.




                                                                                                381852
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 270 of 456
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7355
RI



                                    Submitter Information
Name: Susan Walsh
Address:
  Pawtucket, 
RI, 
02860
Email: suewalsh1@aol.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Walsh-S_2014-10-14_24149168




                                                                                        381853
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 271 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381854
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 272 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Susan Walsh
55 Armistice Blvd
Pawtucket, RI 02860




                                                                               381855
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 273 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-ab0c
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7356
OR



                                      Submitter Information
Name: Frankie Harvey-Shea
Address:
  OR, 
97756
Organization: NA


                                         General Comment
No one has the right to tell me what I can and cannot do with my body. Employers do not have the right to
invade my privacy just because they provide pay for services rendered. The religious and philosophical beliefs of
my employers are theirs, and theirs alone. They have no right under the U. S. Constitution to force their beliefs
on their employees. I, and I alone, have the right to make decisions concerning my health and well being. Do not
take that right away from me because I am female.




                                                                                                 381856
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-r7vz
                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7357
PA



                                       Submitter Information
Name: Karina Conkrite
Address:
  Philadelphia, 
PA, 
19131
Email: Karina.conkrite@gmail.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381857
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 275 of 456
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
                                                                            Tracking No. 1jy-8f14-mtmp
                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7358
IL



                                     Submitter Information
Name: Meredith West
Address:
  Chicago, 
IL, 
60622
Email: mawest06@gmail.com
Organization: NA


                                         General Comment
No boss should have authority over a woman's right to family planning or health matters.




                                                                                            381858
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 276 of 456
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-daop
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7359
CA



                                      Submitter Information
Name: Claudia Linhares
Address:
  Alameda, 
CA, 
94501
Email: mentalfloss46@aol.com
Organization: NA


                                          General Comment
I support the Not My Boss' Business Act. Per the Hobby Lobby ruling, it is not the business of a "Boss" to make
a health decision concerning female health care and in particular regarding birth control and co-pays on behalf of
women. In fact it is an insult to American women and health professionals. I doubt the court would make such a
ruling concerning men and their personal medical decision (such as Viagra, etc.). Shame on the Supreme Court!




                                                                                                  381859
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 277 of 456
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                                                                              Status: Posted
PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-hkah
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7360
MI



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  MI, 
48842
Organization: My Self


                                          General Comment
If you let bosses determine what health coverage a person should get, the next step will be for bosses to
determine what political party people should belong to who work for them.




                                                                                                  381860
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 278 of 456
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                                                                              Status: Posted
PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-cljg
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7361
NC



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  NC, 
28560
Organization: Individual


                                          General Comment
First, birth control methods ought to be available to all men & women, so that abortion (except for medical
necessities) becomes a method of the past. There is no need in this "modern" era for abortion even to be an issue.
If we rapidly move in that direction of significantly reduced abortions, insurance provided by employers would
not even have to consider the abortion issue. If "mistakes" continue to be made and abortions continue to be
considered a solution, then adoption should be considered a primary option (counseling) before any abortion
should even be considered. If pregnant women are not qualified (not HS graduates/not 21/can not financially
support a child), then, by law, that child should be adoptable; Sterilization might even be considered.




                                                                                                  381861
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 279 of 456
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                                                                               Status: Posted
PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-so1y
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7362
TX



                                       Submitter Information
Name: Christopher Dowling
Address:
  Austin, 
TX, 
78734
Email: cod188@juno.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381862
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 280 of 456
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                                                                            Status: Posted
PUBLIC SUBMISSION                                                           Posted: July 13, 2015
                                                                            Tracking No. 1jy-8f14-lkpj
                                                                            Comments Due: October 21, 2014
                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7363
TX



                                     Submitter Information
Name: Debbie Ledbetter
Address:
  Gordonville, 
TX, 
76245
Email: debbieledbetter2000@yahoo.com
Organization: NA


                                         General Comment
It is NO body's business what I do with my body or what type of birth control I use especially my employer.
They don't want to pay for birth control, abortions OR welfare yet they also DON'T pay wages EQUAL to men's
pay. This is just ridiculous! Stay OUT of our business AND let us make our own contraceptive decisions!!! You
are NOT a religious institution so shouldn't be able to use this as an excuse to get this exemption! There is a
HIPAA rule. Use it! Privacy. Our business. Not yours.




                                                                                               381863
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 281 of 456
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
                                                                          Tracking No. 1jy-8f14-l7u2
                                                                          Comments Due: October 21, 2014
                                                                          Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7364
MO



                                     Submitter Information
Name: Bruce Lowrey
Address:
  Independence, 
MO, 
64055-1858
Email: brucelowrey@comcast.net
Organization: NA


                                        General Comment
Personal health care decisions should be made by the person, sometimes with consultation by members of the
family, not by the employer.




                                                                                              381864
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 282 of 456
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-uro7
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7365
NY



                                      Submitter Information
Name: Worth Anonymous
Address:
  NY, 
12204-1208
Organization: NA


                                          General Comment
Birth control should be a decision made by a woman and her doctor. Businesses should have no input in this
matter. And yes, insurance should cover it, just as insurance covers a wide range of other medical services that
some people (fortunately) will never need.




                                                                                                  381865
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 283 of 456
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-n3mx
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7366
WA



                                    Submitter Information
Name: Alisha Freeman
Address:
  Port Orchard, 
WA, 
98366
Email: alishafreeman@hotmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Freeman-A_2014-10-8_24135740




                                                                                        381866
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 284 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381867
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 285 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Alisha Freeman
6875 E Cascade Dr
Port Orchard, WA 98366




                                                                               381868
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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                                                                            Comments Due: October 21, 2014
                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7367
MA



                                      Submitter Information
Name: Kathleen Lique
Address:
  Salem, 
MA, 
01970
Email: kquinn310@gmail.com
Organization: NA


                                         General Comment


I support the U.S. Department of Health and Human Services's (HHS) proposed rules that would help ensure that
women have birth control coverage regardless of their bosses beliefs.

I understand that these rules ensure that women have coverage for the full range of contraceptive methods
without copays, no matter where they work.




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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-63mj
                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7368
VA



                                       Submitter Information
Name: Robert Hunt
Address:
  Richmond, 
VA, 
23235
Email: rahunt1@hotmail.com
Organization: NA


                                          General Comment
Rights! This is about every women's right to decide, for herself, her course of action about her body. Her Bill of
Rights !!!
No employer has that right to force her to his/her way of thinking. Do not deny her right to life, liberty and the
pursuit of happiness which seem to be guaranteed to white males only. Do the right thing. Remember your
mothers who were denied so many American Rights for so long.
Robert Hunt




                                                                                                   381870
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
                                                                            Tracking No. 1jy-8f14-g7vj
                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7369
WA



                                     Submitter Information
Name: Byron Smith
Address:
  Spokane, 
WA, 
99207-3106
Email: byron.smith5662@yahoo.com
Organization: NA


                                         General Comment
Hobby Lobby is a joke. If this is how you treat your women, by taking away the type of care, that women need is
wrong. My question is who made you judge and jury on a womans body. What gives you the right to interfere
between a woman and her doctor.




                                                                                               381871
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-xzm2
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7370
FL



                                       Submitter Information
Name: Charles Sanders
Address:
  South Miami, 
FL, 
33143
Email: charles.sanders@prodigy.net
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381872
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-14b7
                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7371
CA



                                       Submitter Information
Name: Colleen Carter
Address:
  Canyon Country, 
CA, 
91387
Email: colleen@plazatravel.com
Organization: NA


                                          General Comment
Employers have no right to restrict their employees right to any kind of health care. If you let an employer say
women should not have reproductive care covered, then what is next? Some religions don't believe in blood
transfusions. This must stop!




                                                                                                  381873
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-z6yc
                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7372
CA



                                      Submitter Information
Name: Terry Gragg
Address:
  San Clemente, 
CA, 
92672
Organization: NA


                                          General Comment
The Supreme Court does not have the right to force their religious beliefs on people. Religion has no place in the
bedroom, the work place, or government. Just like I should not be forcing my views on others the Supreme Court
or employer should not be able to force their religious views down my throat. What if I thought female should
have an abortion would it be okay for me to force that on anyone? No and this is the same thing.




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PUBLIC SUBMISSION                                                                Posted: July 13, 2015
                                                                                 Tracking No. 1jy-8f14-j517
                                                                                 Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7373
MI



                                        Submitter Information
Name: Geoffrey Owen
Address:
  Waterford, 
MI, 
48328
Email: geof01@gmail.com
Organization: National Partnership for Women and Families


                                            General Comment
Hobby Lobby and other corporate entities chose incorporation as a means to protect themselves as individuals
from actions taken against their companies. For them to then claim a right as an individual that pertains to the
operation of the corporation is having it both ways. Does this mean they no longer have the protection of the
corporation? If they can dictate their personal preference from the other side of the corporate veil then there can
be no veil or protection. It cannot be both ways.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

I am fine with their right to a personal belief. I am not fine with a a "closely held for-profit entity" having such a
belief. It is one way or the other. Corporate Protection or Personal Belief, not both.




                                                                                                      381875
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7374
NJ



                                    Submitter Information
Name: Lara Freidenfelds
Address:
  Chatham, 
NJ, 
07928
Email: lara@post.harvard.edu
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Freidenfelds-L_2014-10-3_28563016




                                                                                        381876
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 294 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381877
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 295 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Lara Freidenfelds

Lara Freidenfelds
118 Hillside Ave
Chatham, NJ 7928




                                                                               381878
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7375
TX



                                      Submitter Information
Name: B Bradley
Address:
  Mansfield, 
TX, 
76063
Email: baronda@sbcglobal.net
Organization: National Partnership for Women & Families


                                          General Comment
No company's beliefs should be able to trump proven scientific facts. Allowing companies like Hobby Lobby
(especially because they primarily hire women of child-bearing age) to object to law based upon their beliefs
(unproven feelings) to determine what they will and will not fund means that female workers face even harsher
burdens when searching for employment options--they'll likely earn less, PLUS they may be forced to pay more
for the birth control option which should be theirs by right and by law, should they go to work for a company
with ignorant beliefs about how birth control works.

Separation of church and state should remain the law of the land--the SCOTUS ruling on being able to object to
proven birth control methods was inappropriate, ill-considered, and decided by a majority that will never bear a
child, wanted or unwanted. In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically
important to me that for-profit corporations not be allowed to deny women coverage for the full range of
contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their INFORMED, SCIENCE-BASED health care providers, not by Bible-based bosses.

Every woman should have access to the contraceptive method of her choice without a copay, and I support the
Obama administrations efforts to ensure that all women have contraceptive coverage without copays, regardless
of their bosses beliefs. We need strong rules that protect womens health and that narrowly define closely held
for-profit entity.

Birth control choice does not belong in my boss' hands. I urge the Obama administration to do all it can to ensure
that all women have coverage for the full range of contraceptive methods without copays.
                                                                                                 381879
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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
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                                                                                Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7376
CT



                                       Submitter Information
Name: Elizabeth Vitale
Address:
  Hartford, 
CT, 
06105
Email: lizvitale@gmail.com
Organization: NA


                                           General Comment
Please protect workers from interference in their private health decision by their employers. It is really a
violation of privacy for employers to have that kind of involvement in these very personal matters.
Thank you.




                                                                                                    381881
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7377
CA



                                      Submitter Information
Name: parvaneh showrai
Address:
  santa monica, 
CA, 
90291
Email: parvaneh_showrai@yahoo.com
Organization: NA


                                          General Comment
government should not lobbyists should not interfere in the health issues of the people.




                                                                                              381882
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7378
FL



                                      Submitter Information
Name: Patrick McGann
Address:
  Marianna, 
FL, 
32446
Email: mcgann.pat@gmail.com
Organization: NA


                                          General Comment
My wife and I are disturbed at the decision SCOTUS reached in the Hobby Lobby case. The founding fathers
clearly intended that the USA be a secular democratic republic, where religion and government were seperate.
That employers are permitted to impose their claimed religious beliefs on their employees, who are not and
cannot be bound to the employer's thinking in that and other respects should be unquestionable.
Companies who serve the public are not allowed to discriminate on race, creed or color with respect to their
business activity; the same principle, guaranteed by our Constitution, should apply in non-business relationships
with employees as well.
If it requires new law, or new rules, or even an amendment to assure employees' freedom of religion in these
cases, I strongly support that action.




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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-rjc8
                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7379
CO



                                      Submitter Information
Name: Andrea Peterson
Address:
  Longmont, 
CO, 
80501
Email: bandmanager007@hotmail.com
Organization: NA


                                          General Comment
A job is a job and nothing else. Our bosses only business should be like it always has been, only about our job
and nothing else. I thought this was a free country? It's becoming increasingly less and less a free country when
these types of legislation get passed. My boss has no business in my personal life and what I do outside of work,
especially where it comes to my contraception choices. With the economy being tight and not being able to
afford children, and with the population of humans reaching a critical point, women should be able to have
affordable contraception. Thank you.




                                                                                                 381884
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7380
MA



                                       Submitter Information
Name: Jennifer Salhus
Address:
  Norfolk, 
MA, 
02056
Email: jsalhus@hotmail.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7381
MD



                                     Submitter Information
Name: J. B. Van Wely
Address:
  Baltimore, 
MD, 
21231
Email: bvanwely@myself.com
Organization: National Partnership for Women & Families


                                         General Comment
Your employer does not get to decide on appropriate health care.




                                                                                        381886
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 304 of 456
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7382
WA



                                      Submitter Information
Name: Phyllis J. Kirk
Address:
  Burien, 
WA, 
98148-1472
Email: sttchurchlady@comcast.net
Organization: League of Women Voters


                                          General Comment
I am nearly 84 years old, and I am not personally affected by this legislation, but my birth control programs were
not the business of anyone but me and my physician. That is how it should remain for the future. The religious
beliefs of my employer are protected by law but so are mine! Let's keep it that way!




                                                                                                  381887
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7383
IL



                                       Submitter Information
Name: Bradley Birge
Address:
  Chicago, 
IL, 
60661
Email: Bradleybirge@gmail.com
Organization: NA


                                          General Comment
Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, only.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs.

We need strong rules that protect womens health and that narrowly define closely held for-profit entities

Birth control is not a boss business. I urge the Obama administration to do all it can to ensure that all women
have coverage for the full range of contraceptive methods without copays.




                                                                                                   381888
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-10ey
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7384
TX



                                       Submitter Information
Name: John Meier
Address:
  Abilene, 
TX, 
79605
Email: ldsmeier@gmail.com
Organization: NA


                                          General Comment
Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381889
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PUBLIC SUBMISSION                                                                 Posted: July 13, 2015
                                                                                  Tracking No. 1jy-8f14-yf7s
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7385
NC



                                        Submitter Information
Name: Bea C.
Address:
  Charlotte, 
NC, 
28212
Email: abellacooper@gmail.com
Organization: NA


                                            General Comment
An employer has no business determining an employee's health care. Period. Some argue that if you work for a
religious business you know ahead of time about this. Well and good if Hobby Lobby served only a Christian
clientele; hired only Christian employees. But, they don't, and they don't.

I have been personally effected by a similar situation- blackballed as an adjunct professor because of my
relationship to one of the college's victims. They can't get rid of her for fighting for a birth control option as part
of their health insurance- so they got rid of me. This is an example of the impact of these personal beliefs and
decisions on others.




                                                                                                       381890
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7386
CA



                                    Submitter Information
Name: Rodney Wallwork
Address:
  San Luis Obispo, 
CA, 
93405
Email: wallwork.rodney@gmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Wallwork-R_2014-10-3_24148372




                                                                                        381891
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 309 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381892
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 310 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Rodney Wallwork
1517 Balboa St
San Luis Obispo, CA 93405




                                                                               381893
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                                                                         Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7387
WV



                                    Submitter Information
Name: Catherine Rodgers
Address:
  Berkeley Springs, 
WV, 
25411
Email: catrodgers@yahoo.com
Organization: NA


                                        General Comment
The government needs to force companies to provide coverage for birth control. They cover Viagra and women
need to be protected from all the unwanted pregnancies from Viagra! Birth control and ABORTION services are
GOOD FOR SOCIETY. Corporations want to make this about economics, they need more consumers and that
should not happen on backs of women. Over rule the corporations for the needs of the women in your country!




                                                                                            381894
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7388
CA



                                      Submitter Information
Name: Leonard Conly
Address:
  Berkeley, 
CA, 
94706-2353
Email: lconly@lmi.net
Organization: National Partnership for Women and Families


                                         General Comment
I support the Obama administrations efforts to ensure that women have coverage for the full range of
contraceptive methods without copays, no matter where they work.




                                                                                                381895
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                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7389
CT



                                      Submitter Information
Name: Ruth Martin
Address:
  Bristol, 
CT, 
06010
Email: scorp3700@hotmail.com
Organization: NA


                                         General Comment
My boss does not have the right to dictate my reproductive health. This needs to be fixed now!




                                                                                                 381896
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                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7390
PA



                                      Submitter Information
Name: Laura Ann Haarmeyer
Address:
  Scranton, 
PA, 
18505
Email: haarmeyer2@comcast.net
Organization: NA


                                         General Comment
Women's healthcare must not be dictated by business owners, religious organizations, or politicians. We are not
second-class citizens who need to be patronized, nor are women incapable of making our own health- and
reproductive- decisions in concert with our families and our doctors.




                                                                                                381897
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7391
NY



                                      Submitter Information
Name: cenie cafarelli
Address:
  Pittsford, 
NY, 
14534-2235
Email: mollyclelia@aol.com
Organization: NA


                                          General Comment
As a pediatrician, I know that a woman is best able to make the decisions regarding her family. She must take
into account her family's ability to care for a child throughout life.
This is not a decision for an employer to make. Birth control is a woman' s and family's choice. I know from my
younger patients, that lack of ability to pay for birth control, leads to earlier pregnancies when a new mother is
not emotionally or financially ready to provide for her child, and leading to an ongoing cycle of poverty, reduced
education, and missed employment.
Birth control, without charge, must be maintained in the affordable care act.




                                                                                                  381898
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7392
NY



                                       Submitter Information
Name: Bridget Baker
Address:
  Johnsonville, 
NY, 
12094
Email: BridgetKathleen1@gmail.com
Organization: NA


                                           General Comment
I was disgusted with the Supreme Court's Hobby Lobby ruling as it denies women the assurance that they have a
right to health insurance; I also firmly believe that the Hobby Lobby ruling is in sync with the Citizens United
decision in which corporations are given person-hood. Let me be perfectly clear - corporations are not persons
and the idea that these fraudulent excuses for person-hood could be given the right to use religious beliefs as a
means to deny basic access to care is illustrative of the extent to which corporations have effectively bought their
way into gaining special interests, controlling the government and oppressing half of the U.S. population.

I support the Obama administrations efforts to prevent employers from denying women access to contraceptives
without co-pays. Over the counter birth control is a joke and we all know it. Insurance should not be denied to
women for ob/gyn care - if insurance companies can provide prescription coverage for erectile dysfunction
which is not a medical crisis by any means, then they can provide coverage for women's prescriptions which DO
have life saving and improving benefits such as reducing the risk of breast and ovarian cancer!




                                                                                                   381899
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7393
MA



                                       Submitter Information
Name: Achmad Chadran
Address:
  Harvard, 
MA, 
01451
Email: dunia.deeds@gmail.com
Organization: NA


                                           General Comment
As a citizen, a voter, an employee and a former small businees owner, I firmly believe in the sanctity of
individual privacy and freedom to choose, whether this choice relates to politics, religion, or healthcare choices.
No employer should have the right to deny any healthcare service to its employees on the basis of opinion,
ideology, or religious doctrine.




                                                                                                   381900
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7394
WA



                                    Submitter Information
Name: Mason Frichette
Address:
  Sequim, 
WA, 
98382
Email: mfrichette@gmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Frichette-M_2014-10-5_24136561




                                                                                        381901
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 319 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381902
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 320 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Mason Frichette
12 Pearl Pl
Sequim, WA 98382




                                                                               381903
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 321 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7395
AL



                                       Submitter Information
Name: Joshua Williams
Address:
  Birmingham, 
AL, 
35235
Email: schmottguy@gmail.com
Organization: NA


                                           General Comment
Since the Supreme Court's flawed and harmful Hobby Lobby decision, which put the ideology of a handful of
wealthy individuals above the well-being of their employees and the rest of the country, it is VITAL to me that
for-profit organizations are barred from denying women coverage for the full range of contraceptive methods.
Birth control is among the most basic forms of health care for women, and every woman should have access to
her choice of contraceptive method without copay. Health care is not some sort of gift from the employer, it is
compensation to the employee for work done. It should be no more the employer's business what services their
employees make use of than what the employee chooses to do with their paychecks.

I strongly support the efforts by the Obama administration to ensure that women everywhere have access to
contraceptive coverage without copays, regardless of their employers' beliefs. This country needs strong rules
that protect women's health-care, and narrowly define "closely held for-profit entities." I urge the administration
to do all in it's power to ensure that all women have full coverage for the entire range of contraceptive methods,
without their employers being able to erect obstacles to it in the form of copays. Thank you for your time.




                                                                                                   381904
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-ggi6
                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7396
NY



                                     Submitter Information
Name: Carla Cherry
Address:
  New York, 
NY, 
10019
Email: carlaremy@gmail.com
Organization: none


                                         General Comment
No boss should have a say in the health decisions of an employee ever for any reason whatsoever.




                                                                                               381905
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7397
MA



                                       Submitter Information
Name: James Hollomon
Address:
  Everett, 
MA, 
02149
Email: ETpro@etproductions.com
Organization: ET Productions


                                          General Comment
I own a small business, but I don't think it's my job to make health care decisions for those who work for me.
Religious convictions do not change that. Any boss has a perfect right to hold their own religious beliefs, but not
the right to force them onto others.




                                                                                                   381906
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7398
IL



                                       Submitter Information
Name: Jan Dreyer
Address:
  Lockport, 
IL, 
60441
Email: jmdreyer@lths.org
Organization: NA


                                          General Comment
Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses".

Employers (usually men) should NOT have the right to decide what a woman does with her body. Whether
choosing to use birth control to prevent a pregnancy, regulate a menstrual cycle or end a pregnancy. We women
are tied of being regarded as second class citizens, whether it applies to health care coverage (men are allowed to
purchase Viagra with no questions asked) or the fact that women are paid less than a man for doing the same job.

THIS HAS TO STOP NOW. THOSE WARS WERE FOUGHT YEARS AGO AND NEED NOT BE FOUGHT
AGAIN.




                                                                                                  381907
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 325 of 456
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-wnvc
                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7399
CA



                                     Submitter Information
Name: Rev. Lee Feldman-Redick
Address:
  CA, 
94703
Organization: Defend Science


                                         General Comment
Women's health and well-being do not belong to the caprice of their employers; women have the right to control
their own bodies.




                                                                                               381908
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 326 of 456
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-upbk
                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7400
MD



                                     Submitter Information
Name: Arlene Schler
Address:
  Bethesda, 
MD, 
20814
Email: acs1231@comcast.net
Organization: NA


                                         General Comment
In the wake of the Supreme Courts harmful and poorly reasoned Hobby Lobby decision, it is critically important
to me that for-profit corporations not be allowed to deny women coverage for the full range of contraceptive
methods.

Birth control is basic preventative health care for women, and womens health care decisions should be made by
women and their health care providers, not by bosses.

I strongly believe that every woman should have access to the contraceptive method of her choice without a
copay, and I support the Obama administrations efforts to ensure that all women have contraceptive coverage
without copays, regardless of their bosses beliefs.

We need strong rules that protect womens health-from birth control to domestic violence--and that narrowly
define closely held for-profit entity.




                                                                                               381909
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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
                                                                                Tracking No. 1jy-8f14-an8q
                                                                                Comments Due: October 21, 2014
                                                                                Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7401
FL



                                       Submitter Information
Name: Mary Sue Baker
Address:
  Sarasota, 
FL, 
34241
Email: marysue@sarasotains.com
Organization: NA


                                           General Comment
Corporations have no right to interfere in employees' personal beliefs or get involved in choosing what medical
treatments they receive. It is outrageous that the court has granted "personhood" to these financial entities. Is the
court now going to decide that the corporations have the right to vote in the elections? I think that the
government should be working for the real people and not helping the corporations get more rights and make
more money.
Thank you,
Mary Sue Baker
6318 Goldfinch St
Sarasota, FL 34241




                                                                                                     381910
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 328 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-v3n0
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7402
OH



                                      Submitter Information
Name: Marjorie Shook
Address:
  Madison, 
OH, 
44057
Email: shook.marje@gmail.com
Organization: NA


                                         General Comment
This is an important health issue, please see that all women have the ability to secure contraceptives without
copay. Health needs should not depend on your boss and should not be available just to those who are better off
financially.




                                                                                                381911
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 329 of 456
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-k0uu
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7403
GA



                                      Submitter Information
Name: Ellen Shockley
Address:
  Commerce, 
GA, 
30530
Organization: NA


                                          General Comment
The Proposed Rule only makes the situation worse for closely-held for-profit organizations because, instead of
exempting them, it requires them to facilitate contraceptive coverage. I urge you to rescind the Administration's
contraceptive mandate. All organizations and individuals should be allowed to offer, sponsor, and obtain health
coverage that does not violate their moral and religious convictions.




                                                                                                  381912
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 330 of 456
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-c54z
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7404
WI



                                    Submitter Information
Name: Joyce Frohn
Address:
  Oshkosh, 
WI, 
54901
Email: ahengst1@new.rr.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Frohn-J_2014-10-3_1518372 (2)




                                                                                        381913
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 331 of 456
Catholics for Choice

Dear Secretary Perez,

 I, like the majority of the 70 million Catholics in the United States, support contraceptive
coverage and religious liberty for all people, no matter where they work. I was therefore
outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which sided against
the employees who need access to reproductive healthcare. I believe that women are
moral agents whose consciences should be respected, not trumped, by their employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of
many women and their families. For many, it already has. I urge the departments not to


                                                                                  381914
     Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 332 of 456
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Joyce Frohn
425 Congress Ave
Oshkosh, WI 54901

23




                                                                               381915
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7405
WA



                                    Submitter Information
Name: Robert Walling
Address:
  Seattle, 
WA, 
98122
Email: Mayfaire5469@yahoo.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Walling-R_2014-10-3_24155016




                                                                                        381916
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 334 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381917
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 335 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Robert Walling
1122 E Pike St, #1020
Seattle, WA 98122

206 516-9010




                                                                               381918
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                                                                          Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7406
MO



                                     Submitter Information
Name: Kathy Nevins
Address:
  Jefferson City, 
MO, 
65101-9619
Email: wdhd@aol.com
Organization: NA


                                        General Comment
Since the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.
Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by corporations.




                                                                                            381919
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-xhig
                                                                           Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7407
TX



                                     Submitter Information
Name: Shauna Bradford
Address:
  Austin, 
TX, 
78749
Email: ueen.mcclanless@gmail.com
Organization: NA


                                        General Comment
Employer provided group health insurance is part of my compensation...they can't tell me what I can spend my
salary on how can they tell me what I can or cannot do with my body...that is between me and my doctor. This
was a horrible sexist decision that would have never happened if this was about Viagra. NO MAN has the right
to tell me what to do with my body.




                                                                                              381920
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PUBLIC SUBMISSION                                                                Posted: July 13, 2015
                                                                                 Tracking No. 1jy-8f14-u8ln
                                                                                 Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7408
IL



                                        Submitter Information
Name: Anonymous Anonymous
Address:
  IL, 
60614
Organization: NA


                                           General Comment
I am a male employee of the federal government. But I am writing to you now strictly as a believer in decency
and common sense. No one should be allowed to make medical decisions for anyone save for that person herself
- not her government and certainly not her employer. The Affordable Care Act was created with the intention of
increasing Americans' access to healthcare; it runs contrary to the spirit of the bill to allow corporations to refuse
to extend coverage to their female employees' reproductive health care simply because they would prefer not to
pay for it or believe it to be wrong to have women control their own reproductive health. Put simply, the sexual
and reproductive health decisions people make are no one's business but their own, and the opinions of their
employers are irrelevant. Please, do everything in your power to make sure that all Americans have equal,
ensured access to all forms of health care, including birth control and other reproductive health medication and
procedures.




                                                                                                     381921
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7409
PA



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  PA, 
15201
Organization: NA


                                         General Comment
All women should have access to preventative care, including anything related to reproductive health, regardless
of where they work. Women (not their bosses or men in congress) should be able to make their own choices
about their bodies.




                                                                                                381922
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-28uw
                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7410
ID



                                      Submitter Information
Name: Susan Chaloupka
Address:
  Boise, 
ID, 
83702
Organization: Ms.


                                         General Comment
I find it hard to believe that HHS would allow an employer to determine my options for health care, particularly
in this area. My medical decisions should be between myself, my family and my doctors. It is not for my
employers or their church to decide.




                                                                                                 381923
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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                                                                            Comments Due: October 21, 2014
                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7411
GA



                                     Submitter Information
Name: Anonymous Anonymous
Address:
  GA, 
31088
Organization: NA


                                         General Comment
An employer has no business poking into their workers' private healthcare concerns.




                                                                                            381924
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 342 of 456
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
                                                                          Tracking No. 1jy-8f14-7lql
                                                                          Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7412
MN



                                     Submitter Information
Name: Anonymous Anonymous
Address:
  MN, 
56180
Organization: NA


                                        General Comment
Bosses have no right to deny women the rights they need to protect their bodies. Only women themselves have
the right to make decisions to protect themselves. NO BOSS should be allowed to tell their women employees
what they can and cannot do to protect themselves from pregnancy!!




                                                                                             381925
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7413
NC



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  NC, 
28150
Organization: NA


                                         General Comment
Conservatives make a big deal of the government coming between patients and doctors, but they're okay with
random private citizens and for-profit corporations coming between women and our doctors? I'm a Christian, too,
but sorry. Such double standards and hypocrisy are despicable.

The Hobby Lobby ruling was a joke. Do whatever you can to protect the privacy and respect the dignity of
women. It's nobody and no boss's business why anyone, women including, is taking legally prescribed
medication. What interpretation of the 1st, 4th, and 9th amendments allows for such intrusion and violation of
privacy?




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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-uknf
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7414
NY



                                       Submitter Information
Name: al lum
Address:
  NY, 
13635
Email: allum@tds.net
Organization: NA


                                          General Comment
We need to tell congress, if you cant physically get pregnant don't try and p-ass laws to control those who can !




                                                                                                  381927
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 345 of 456
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
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                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7415
MI



                                     Submitter Information
Name: Michael Woerner
Address:
  Grand Rapids, 
MI, 
49504
Email: boybear1963@hotmail.com
Organization: NA


                                         General Comment
Dear sir/madam,
Contraception and safe abortions are important to me because, as a person who is a product of rape, my mother
didn't have the choice. Employers should not be forcing their morality on employees, either. The workplace
needs to be neutral on these issues, and stay out of an employee's private decisions!




                                                                                               381928
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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                                                                            Comments Due: October 21, 2014
                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7416
VT



                                     Submitter Information
Name: Anonymous Anonymous
Address:
  Newport Center, 
VT, 
05857
Email: isomarks@hotmail.com
Organization: NA


                                         General Comment
As a large company you have no right to discriminate against women on the basis of religious doctrine.




                                                                                               381929
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-lzvr
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7417
FL



                                       Submitter Information
Name: Brian Ainsley
Address:
  Orlando, 
FL, 
32810
Email: Brian.Ainsley@gmail.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

Birth control is not a boss business. I urge the Obama administration to do all it can to ensure that all women
have coverage for the full range of contraceptive methods without copays.




                                                                                                   381930
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7418
CA



                                      Submitter Information
Name: Stephanie Stilwell
Address:
  Mountain View, 
CA, 
94040
Email: stilwellphotography@gmail.com
Organization: NA


                                          General Comment
Dear HHS,

I am a Woman and I am writing to you today to say that discrimination to women, gay, lesbian, bisexual, black,
white, brown, red, human, nonhuman, AND any other kind of different class of living creatures - MUST END!
Equality for all must continue to rise! In this case, at this moment, we are discussing Women's Health Coverage.
Women have the RIGHT to Health Coverage and that includes access to Contraception without Co-Pays. These
Businesses- like Hobby Lobby- that are not allowing this - will not survive - this we can be sure of. No matter
what, fear will never never win. Instead of putting energy into supporting any kind of closed-mindedness - we
should All be putting our energy into how we can raise more money and support into BETTER Parent Education
and BETTER Mental Health Services...so we can avoid running across ignorant/fearful people like the
Boss/es/Owner/s of Hobby Lobby.

Thank you for your time in this matter.

Forever for Equal Rights(Love),
Stephanie Stilwell




                                                                                                381931
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7419
CA



                                     Submitter Information
Name: Andrea Lueskow
Address:
  Pomona, 
CA, 
91768
Email: amlueskow@csupomona.edu
Organization: NA


                                        General Comment
All women deserve access to basic health care and birth control options with out a copay. Someone's employer
should not have the right to take that away. Every woman should have coverage for all contraception methods.
Birth control is not my boss's business or decision!




                                                                                              381932
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7420
OH



                                       Submitter Information
Name: Donald McCabe
Address:
  Clinton, 
OH, 
44216
Organization: NA


                                           General Comment
The Proposed Rule only makes the situation worse for closely-held for-profit organizations because, instead of
exempting them, it requires them to facilitate contraceptive coverage. I urge you to rescind the Administration's
contraceptive mandate. All organizations and individuals should be allowed to offer, sponsor, and obtain health
coverage that does not violate their moral and religious convictions.

I can not offer a response to the "accommodations" in your legal terms, which tends to frustrate me and I am sure
many who feel that such language is only meant to quiet the masses, to demonstrate their low estate. With that in
mind I will try to use an analogy of what I think is being attempted.

A man has had enough of his 30 yrs of marriage and so regretfully he resides to take the life of his wife. So he
begins to plot the crime. As he progresses thru his planning he is haunted by the ugliness of the act that he is
planning. So to diminish his part in the crime he decides to find someone who will do it for him. This will keep
his hands clean. For a brief time he feels slightly relieved, but it hits him that he needs to be removed completely
for the action. After much thought, he develops a unique approach to the problem, "Why not remove the direct
exchange or payment"" After much effort he uncovers a third party method of exchange. He now will not have
the blood of his wife on his hands and he will not be directly paying for it. That is the answer. He can now sleep
at night. He will not be responsible for her death. Problem solved! What a stupid man. Wouldn't you agree"




                                                                                                   381933
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7421
CT



                                    Submitter Information
Name: Martha Stephens
Address:
  Old Saybrook, 
CT, 
06475
Email: stephens.m81@gmail.com
Organization: NA


                                        General Comment
BUSINESS OWNERS WITH RELIGIOUS AND PERHAPS FINANCIAL INTERESTS SHOULD NOT BE
ABLE TO PREVENT WOMEN FROM RECEIVING CONTRACEPTION, IN THEIR HEALTH INSURANCE
PLANS ESPECIALLY SINCE THE AFFORDABLE CARE ACT REQUIRES INSURANCE TO PROVIDE
FOR THIS. I ALSO SEE THIS AS RELATED TO THE ISSUE OF SEPARATION OF CHURCH AND
STATE WHICH SEEMS TO BE INCREASINGLY DISREGARDED..
MARTHA STEPHENS




                                                                                        381934
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7422
WA



                                     Submitter Information
Name: Linda Wasserman
Address:
  Tacoma, 
WA, 
98406-8114
Email: 2catwoman@centurylink.net
Organization: NA


                                        General Comment
Why place women's contraceptive rights back to the 60's? I am on RN who actually worked on behalf of this in
the late 60's early 70's and we are still fighting this battle. It is shameful!!!




                                                                                              381935
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7423
NM



                                    Submitter Information
Name: Irene Walkiw
Address:
  Albuquerque, 
NM, 
87107
Email: ijwalkiw@hotmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Walkiw-I_2014-10-3_24157119




                                                                                        381936
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Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381937
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many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Irene Walkiw
4608 3rd St NW
Albuquerque, NM 87107




                                                                               381938
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7424
PA



                                       Submitter Information
Name: Richard Eckman
Address:
  Pittsburgh, 
PA, 
15221
Organization: NA


                                           General Comment
It is unconscionable to deny women coverage for reproductive health. It is allowing the viewpoints of a small,
select few to make a crucial healthcare decision for thousands of others. This has nothing to do with respecting
religious freedom. It has everything to do with a group of people who oppose the Affordable Care Act trying to
chip a large chunk of it away in order to fit their personal perceptions of right and wrong. It has nothing to do
with healthcare - but everything to do with a small group of people who hate President Obama. It is clear that, in
order to provide comprehensive preventative care for women, reproductive health is a crucial component
necessary to ensure that those women who either choose or need to prevent pregnancy have the ability to do so.
If medications for erectile dysfunction are covered, then it's ridiculously hypocritical to deny coverage for birth
control for women. If Hobby Lobby is as morally opposed to reproductive healthcare coverage as they claim,
then all erectile dysfunction medications - Viaga, Cialis, etc. - should similarly be outside the scope of coverage,
as well.




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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
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Document: CMS-2014-0115-7425
CA



                                     Submitter Information
Name: John Kenton
Address:
  Riverside, 
CA, 
92518
Email: jfkenton@gmail.com
Organization: NA


                                        General Comment
I understand that there is an effort to provide women with medical health care in planning their reproductive
processes and planning birth control. The Supreme Court's ruling exempting Hobby Lobby from the federal law
that does this is absurd. Women should not be denied health care mandated by the Congress' ACA should not
have that health care denied because their employer wants to go to church on Sunday (or whatever day).




                                                                                              381940
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7426
UT



                                       Submitter Information
Name: Mary Barker
Address:
  UT, 
84108
Organization: NA


                                           General Comment
To Whom It May Concern,

Without employees - lawyers, accountants, sales representatives, administrative assistants, the cleaning crew, etc.
- no enterprise can thrive. Employees are not ancillary to enterprises but rather partners to them. To attach strings
on their compensation packages according to the interests and opinions of the individual owners is no more
legitimate than would be the employees attaching similar strings on how owners use the profits of their joint
enterprise. After all, the labor of employees contributed to them.

Moreover, compensation packages that include things that go against an owners personal religious beliefs (like
contraceptives) do not violate owners' First Amendment rights. Compensation to employees gives employees
what they have earned. Employees are free to exercise their own consciences in terms of how they make use of
them. However they choose, it is not the same as the owner having engaged in the same choice/behavior. (If an
employee uses a paycheck to buy pornography, the one issuing the paycheck has not thereby supported or
engaged in porn.) If owners' whims are the deciding factor, however, then they employees rights have been
abused - the owners' religious beliefs have been foisted on them.

If the Hobby Lobby decision is allowed to stand, then one would have to justify Jehovah's Witnesses and
Seventh Day Adventists denying their employees what they find objectionable in today's medical care (blood
transfusions, for example). This is crazy. Owners should be able to make decisions about their personal lives, and
employees about theirs.

Please devise regulations that respect the autonomy of us all.

Thank you,
                                                                                                    381941
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Mary Barker




                                                                               381942
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7427
WI



                                      Submitter Information
Name: Charles Gaulke
Address:
  Hartland, 
WI, 
53029-9057
Email: chuck_gaulke@bradycorp.com
Organization: NA


                                          General Comment
Birth control should be a decision between a woman and her doctor not made by any corporation.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administration efforts to ensure that all women have contraceptive coverage with no copay,
regardless of their bosses beliefs. We need strong rules that protect women's health and their choice as US
citizens and that thus define "closely held for profit entity."

A woman's birth control choice should not be made by any boss or corporation. I urge the Obama administration
to do everything in its power to restore this personal choice to the rightful place that being with the woman and
her doctor.




                                                                                                 381943
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7428
NY



                                     Submitter Information
Name: Philippa Proudfoot
Address:
  Rochester, 
NY, 
14611
Organization: NA


                                        General Comment
EVERYONE deserves equal access to health care.
Bosses have no business determining their employees' reproductive options.




                                                                                             381944
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7429
MA



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  MA, 
02769
Organization: NA


                                          General Comment
It is extremely important to me that corporations not be allowed to deny women coverage for the full range of
contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses or companies.

Once we allow companies to start defining what they will and will not cover because of "their beliefs", we are
opening up a huge can of worms for companies to deny anything and everything.

Birth control is not a boss business. I urge the Obama administration to do all it can to ensure that all women
have coverage for the full range of contraceptive methods without copays.




                                                                                                   381945
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
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Document: CMS-2014-0115-7430
VT



                                      Submitter Information
Name: Kristina Creighton
Address:
  Granville, 
VT, 
05747
Email: pracpalate@aol.com
Organization: NA


                                         General Comment
Contraception and abortion are personal matters, and corporations have no right to interfere in a woman's
decision. NO ONE has the right to interfere in a woman's decision, but especially her employer.




                                                                                                381946
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7431
PA



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  PA, 
19063
Organization: NA


                                          General Comment
Put all the ED meds on the bill in addition to contraception and see how far it gets. If your religion says you must
not use contraceptives I will not insist that you do.
Men can "get it up" for four hours and require hospital care that is covered by insurance without anyone
questioning the med being on the "covered" list. Lets say that men need their significant other to request the
Viagra in order for a doctor to write a script.
Lets even the playing field and see who yells foul!




                                                                                                   381947
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7432
CA



                                      Submitter Information
Name: Christopher Eckman
Address:
  CA, 
93455
Organization: National Partnership for Women & Families


                                         General Comment
Employers should not be making moral decisions for their employees. It is not their place.




                                                                                             381948
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7433
NC



                                     Submitter Information
Name: linda pucci
Address:
  graham, 
NC, 
27253
Email: gearrhartpucci@gmail.com
Organization: NA


                                         General Comment
I feel it is unreasonable for an employer to determine whether or not an employee can have any kind of insurance
coverage. This targets women who are less fortunate than the employer and should not be allowed.




                                                                                                381949
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7434
CA



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  SAN FRANCISCO, 
CA, 
94127
Organization: National Partnership for Women & Families


                                          General Comment
My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381950
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7435
CO



                                     Submitter Information
Name: Valerie Etter
Address:
  Clifton, 
CO, 
81520
Organization: NA


                                         General Comment
There is a significant issue on this Hobby Lobby ruling that is called discrimination based on gender and it's
against federal law. Healthcare is private and until businesses are no longer involved with employer-paid health
insurance, businesses must not discriminate based on gender. Women, as well as men, have privacy rights based
on decisions they make on their own healthcare. Women are being selected out for discrimination and this cannot
stand, and that is why I take a stand today.




                                                                                               381951
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
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Document: CMS-2014-0115-7436
WA



                                      Submitter Information
Name: Carole Henry
Address:
  Seabeck, 
WA, 
98380
Email: xmas_carole@hotmail.com
Organization: NA


                                          General Comment
In regard to contraceptives and preventative medical services, I want to be on record saying that what I and my
partner (as anyone and his or her partner) must have respect to privacy. It is of no business to anyone outside of
that relationship what a person chooses in regard to his or her own family. Family planning is personal, and
many are choosing to wait to have children or choosing not to have children. If contraceptives are their choice, so
be it. Preventative medical services are necessary, and much less expensive than the alternative.

As a social worker, I worked for nearly 20 years in public child welfare. The number of unwanted children and
children born to persons who did not have access to contraception is staggering. These children grow up in foster
care and detention facilities, many going on to have more unwanted children or landing in our prison system. The
expense in dollars as well as damage to communities is immense. Rather than encourage this status quo, we must
educate in regard to, and give access to, family planning services, however those look.

I currently work for a large Franciscan (Catholic) corporation. I know what they believe, and I must abide by
their beliefs when I am speaking as a representative of their agency, but they do not get involved in my personal
life and do not deny my choices. Keep personal choices out of the hands of bosses!




                                                                                                  381952
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 370 of 456
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-br89
                                                                           Comments Due: October 21, 2014
                                                                           Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7437
OR



                                      Submitter Information
Name: marian ellette
Address:
  hillsboro, 
OR, 
97124
Organization: NA


                                          General Comment


who is going to pay and support these children that are not wanted!!!!!!




                                                                                           381953
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 371 of 456
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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                                                                            Comments Due: October 21, 2014
                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7438
OR



                                      Submitter Information
Name: Charlotte Maloney
Address:
  Eugene, 
OR, 
97405
Email: charm71@comcast.net
Organization: NA


                                         General Comment
I strongly support the CMS proposed rule to make birth control services available without cost to all women-
addressing the effect of the Supreme court's "Hobby Lobby Decision."

I am disappointed in the necessity of this being made available through employer-provided insurance as a part of
the ACA. However, I strongly believe that the provision is critical for the reproductive health of the effected
working women and, it benefits the whole nation for "every child to be a wanted child."




                                                                                                381954
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 372 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7439
CA



                                       Submitter Information
Name: Andy Lupenko
Address:
  CA, 
91945
Organization: NA


                                          General Comment

In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381955
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-x05q
                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7440
NY



                                       Submitter Information
Name: Anonymous Anonymous
Address:
  Brooklyn, 
NY, 
11231
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381956
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7441
CA



                                      Submitter Information
Name: Kari Stalbaum-Grilley
Address:
  Vallejo, 
CA, 
94590
Organization: NA


                                          General Comment
The Proposed Rule only makes the situation worse for closely-held for-profit organizations because, instead of
exempting them, it requires them to facilitate contraceptive coverage. I urge you to rescind the Administration's
contraceptive mandate. All organizations and individuals should be allowed to offer, sponsor, and obtain health
coverage that does not violate their moral and religious convictions.




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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7442
NM



                                      Submitter Information
Name: Kenneth Brown
Address:
  Los Lunas, 
NM, 
87031
Organization: NA


                                          General Comment
The Proposed Rule only makes the situation worse for closely-held for-profit organizations because, instead of
exempting them, it requires them to facilitate contraceptive coverage. I urge you to rescind the Administration's
contraceptive mandate. All organizations and individuals should be allowed to offer, sponsor, and obtain health
coverage that does not violate their moral and religious convictions.




                                                                                                  381958
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 376 of 456
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-20pg
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7443
PA



                                    Submitter Information
Name: Ralph Fulio
Address:
  East Stroudsburg, 
PA, 
18302
Email: rfrulio@gmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Frulio-R_2014-10-3_24147096




                                                                                        381959
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 377 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381960
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 378 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Ralph Frulio
709 Pine Hill Rd
East Stroudsburg, PA 18302




                                                                               381961
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7444
OH



                                      Submitter Information
Name: Bob Franer
Address:
  Fayetteville, 
OH, 
45118
Organization: NA


                                          General Comment
The Proposed Rule only makes the situation worse for closely-held for-profit organizations because, instead of
exempting them, it requires them to facilitate contraceptive coverage. I urge you to rescind the Administration's
contraceptive mandate. All organizations and individuals should be allowed to offer, sponsor, and obtain health
coverage that does not violate their moral and religious convictions.




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PUBLIC SUBMISSION                                                                Posted: July 13, 2015
                                                                                 Tracking No. 1jy-8f14-bfue
                                                                                 Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7445
WA



                                        Submitter Information
Name: Kathryn Goldberg
Address:
  Carlton, 
WA, 
98814
Email: mccraystreet@yahoo.com
Organization: NA


                                            General Comment
Corporations and businesses are not individuals with religious views and beliefs. They have no right to control
the private legal activities of their employees outside of work. The right to decide on contraception and family
planning is one of the most basic and fundamental of an individual's rights. Employers have no business or right
to infringe upon this private right.

If contraception is against an individual's beliefs--then don't use it. But that does not give anyone the right to
dictate what another person decides is right herself and her family.

The cost of raising a child has increased drastically in this country--like other unavoidable costs to maintain a
middle or even lower-middle class lifestyle. The average worker is barely able to keep up with the costs. And
contraceptive costs are prohibitive for low income workers--like the employees of Hobby Lobby and other retail
workers.




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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-bas3
                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7446
TX



                                       Submitter Information
Name: Linda Lester
Address:
  2238 Hidden Meadow, 
TX, 
78130
Email: lstellma@att.net
Organization: NA


                                           General Comment
Bosses have no right to impose their so called religious liberty on their employees by denying access to birth
control. It was a sad day when the Supreme Court said otherwise. This will open the door to every religion
wanting to deny some aspect of health care to their employees, ie transfusions, health care at all, etc. based on
their religion. This should be covered and if people "choose" to exercise their religious liberty, they do not have
to purchase it. This is totally discriminatory towards women, as I see no efforts to stop providing vasectomy
services to men.

There must be consistency and allowing this sort of privilege to employers (who should not be considered
"people") only will perpetuate a piece meal and a la carte approach to health care for everyone.

When will this insanity stop. Hobby Lobby is now involved in perpetuating their religious philosophy in text
books in public schools in Oklahoma.

PS--I have already stopped shopping at Hobby Lobby and will never set foot in their store again.




                                                                                                    381964
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7447
WA



                                       Submitter Information
Name: Nina French
Address:
  Seattle, 
WA, 
98178
Email: snowflakeschance@yahoo.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




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                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7448
IL



                                     Submitter Information
Name: Cindy Hoyle
Address:
  Carol Stream, 
IL, 
60188
Email: choyle56@gmail.com
Organization: NA


                                         General Comment
Women have a right to take care of their own bodies. If they need medications they should be paid for the same
as any other medication is paid for by their employer.




                                                                                               381966
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7449
GA



                                       Submitter Information
Name: Lynn Edgar
Address:
  Decatur, 
GA, 
30030
Email: edgar@ufl.edu
Organization: NA


                                          General Comment
I am from an older generation that did not have access to medical coverage for birth control, nor for maternity
coverage. I personally had a number of medical problems that interfered with my ability to get pregnant and
being able to carry a baby to full term. It was neither my nor my husband's boss' business as to whether or not I
used birth control or got medical help in carrying our children. While I am glad reality is practiced more openly
today, it still is NOT the role of employers' to regulate women's use of contraception. In fact, rather than using
the rationality of financial cost, perhaps male employers should pay for their male employees condoms (usually
cheaper than female contraception). Then, if women become pregnant, their male partners can pay all costs for
the females' pregnancy care including time off of work for MD appointments and delivery recovery, delivery
cost, and the next 21 years of their children's expenses, including education. Companies can regulate men's
salaries rather than women's.




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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7450
WI



                                    Submitter Information
Name: Dianne Wagner
Address:
  De Pere, 
WI, 
54115
Email: wagnerdianne@yahoo.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Wagner-D_2014-10-14_24147771




                                                                                        381968
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 386 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381969
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 387 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Dianne Wagner
1807 Ridgeway Dr, Unit 35
De Pere, WI 54115




                                                                               381970
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7451
NH



                                      Submitter Information
Name: Helen Tam-Semmens
Address:
  NH, 
03464
Organization: NA


                                         General Comment
Bosses have no business in denying women access to contraception without copays. They have no right to deny
coverage based on their own religious beliefs. What if some bosses don't believe in western medicine at all and
only believe in faith healing?




                                                                                                381971
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                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7452
VA



                                     Submitter Information
Name: Vanessa Lasko
Address:
  Virginia beach, 
VA, 
23454
Email: Worldsolution@peacemail.com
Organization: NA


                                         General Comment
We need to provide contraception to our public. For health reasons and to prevent unwanted pregnancy.its a no
brainer




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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7453
OR



                                      Submitter Information
Name: Ann Clakrson, PhD
Address:
  Portland, 
OR, 
97202-4205
Email: abcphdpdx@spiritone.com
Organization: NA


                                         General Comment
Contraception is basic to women's reproductive health, both for family planning and various health conditions.




                                                                                                381973
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7454
MN



                                      Submitter Information
Name: Joan Dircks
Address:
  Minneapolis, 
MN, 
55421
Organization: NA


                                          General Comment
The Proposed Rule only makes the situation worse for closely-held for-profit organizations because, instead of
exempting them, it requires them to facilitate contraceptive coverage. I urge you to rescind the Administration's
contraceptive mandate. All organizations and individuals should be allowed to offer, sponsor, and obtain health
coverage that does not violate their moral and religious convictions.




                                                                                                  381974
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7455
MN



                                      Submitter Information
Name: Joan Dircks
Address:
  Minneapolis, 
MN, 
55421
Organization: NA


                                          General Comment
The Proposed Rule only makes the situation worse for closely-held for-profit organizations because, instead of
exempting them, it requires them to facilitate contraceptive coverage. I urge you to rescind the Administration's
contraceptive mandate. All organizations and individuals should be allowed to offer, sponsor, and obtain health
coverage that does not violate their moral and religious convictions.




                                                                                                  381975
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                                                                        Status: Posted
PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7456
NY



                                    Submitter Information
Name: Deborah Gaffaney
Address:
  New York, 
NY, 
10036
Email: Debojg@gmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Gaffaney-D_2014-10-14_24140991




                                                                                        381976
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 394 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381977
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 395 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Deborah Gaffaney
464 W 47th St
New York, NY 10036

9175667180




                                                                               381978
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7457
FL



                                     Submitter Information
Name: Linda Komosa
Address:
  Vero Beach, 
FL, 
32966
Email: lkomosa811@gmail.com
Organization: NA


                                        General Comment
The decisions pertaining to one's personal life should NOT be made by an employer!




                                                                                          381979
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7458
OH



                                       Submitter Information
Name: Michael $ Marlene LaChat
Address:
  Ostrander, 
OH, 
43061-0039
Email: mmlachat@yahoo.com
Organization: NA


                                          General Comment
Women bear the brunt the costs of childbearing. It's their decision, not yours. You are not their physicians.




                                                                                                   381980
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-976h
                                                                           Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7459
MI



                                     Submitter Information
Name: Judith Shane
Address:
  Owosso, 
MI, 
48867
Email: diffs777@yahoo.com
Organization: National Partnership for Women and Families


                                        General Comment
it's utterly outrageous that in 2014 we are debating whether WOMEN have the RIGHT to make their own
reproductive decisions. Please do the right thing and make sure that NO BOSS has the right to FORCE his/her
RELIGIOUS BELIEFS on any employee. Thank you




                                                                                              381981
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-2b7z
                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7460
CA



                                      Submitter Information
Name: Martha Cooper
Address:
  CA, 
95691
Organization: NA


                                          General Comment
I support the administrations efforts to ensure that women have coverage for the full range of contraceptive
methods without copays, no matter where they work. To do otherwise will be disastrous to our country.




                                                                                                 381982
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
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                                                                            Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7461
IN



                                     Submitter Information
Name: Candie Glisson
Address:
  West Lafayette, 
IN, 
47906
Email: Jnpr2316@aol.com
Organization: NA


                                         General Comment
The decision for Hobby Lobby was yet another step backwards for women. The use of contraceptives is a highly
personal matter between a woman and her doctor, not her boss or the Supreme Court. While this is seen as a
religious victory for corporations such as Hobby Lobby, it is yet another attack in the War on Women. Decisions
such as this will only lead to the eventual exclusion of women in all sectors of public life. By taking away a
woman's right to birth control coverage, employers are at the forefront of firmly entrenching women as second-
class citizens of this country, again.
Please stop this trend in its tracks by ensuring that women have coverage for the full range of contraceptive
methods without copays, no matter where they work.

Thank you for your time.




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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7462
OH



                                      Submitter Information
Name: Sharon Luebke
Address:
  Fort Loramie, 
OH, 
45845
Organization: NA


                                          General Comment
The Proposed Rule only makes the situation worse for closely-held for-profit organizations because, instead of
exempting them, it requires them to facilitate contraceptive coverage. I urge you to rescind the Administration's
contraceptive mandate. All organizations and individuals should be allowed to offer, sponsor, and obtain health
coverage that does not violate their moral and religious convictions.




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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-i4pb
                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7463
CO



                                      Submitter Information
Name: Elizabeth Asnicar
Address:
  Lyons, 
CO, 
80540
Email: Asnicar5@msn.com
Organization: National Partnership.org


                                          General Comment
Basic fairness, as well as privacy concerns, should ensure a woman's right to the full range of contraceptive
methods,
regardless of her employer's religious views. Thank you.




                                                                                                  381985
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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-6kyi
                                                                           Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7464
OH



                                     Submitter Information
Name: Lois Whealey
Address:
  Athens, 
OH, 
45701
Email: lw182104@ohio.edu
Organization: Planned Parenthood


                                        General Comment
Women's health care and coverage for it, should not be determined by business owners' beliefs. Women have a
right to comprehensive and necessary health care as determined by themselves, their families and their medical
professionals.
Specifically, WOMEN not BOSSES should decide whether they will employ contraceptives to plan for their own
families.
The Affordable Health Care Act should be fully implemented without interference by employers.




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PUBLIC SUBMISSION                                                               Posted: July 13, 2015
                                                                                Tracking No. 1jy-8f14-xz9o
                                                                                Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7465
FL



                                       Submitter Information
Name: Elizabeth Iglesias
Address:
  Coral Gables, 
FL, 
33146
Email: iglesias@law.miami.edu
Organization: NA


                                           General Comment
I support the proposed new rule to ensure that women have coverage for the full range of contraceptive methods
without copays, no matter where they work. Public health, respect for the integrity of women as moral agents and
autonomous individuals, and the goal of securing equal opportunity for all women regardless of race, class,
religion or other factor all warrant this rule, as women have many necessary and proper reasons as much for
using birth control as for not using it at different times in their lives. Employers should focus on the excellence of
the products and services they produce, not on the contraceptive methods their employees do or do not use.
Thank you for this initiative.




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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-x48z
                                                                        Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7466
CA



                                    Submitter Information
Name: pATRICK Gaffney
Address:
  Sacramento, 
CA, 
95816
Email: gaffneyp@aol.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Gafney-P_2014-10-3_24155105




                                                                                        381988
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 406 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  381989
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many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Patrick Gaffney
3225 I St
Sacramento, CA 95816




                                                                               381990
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7467
MI



                                        Submitter Information
Name: Janet Danek
Address:
  Midland, 
MI, 
48640
Organization: NA


                                            General Comment
To whom is may concern - which is every American:

In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.

And finally, I have been fighting this battle for over 40 years and find it hard to believe it is still an issue. From
my heart, I believe if it was limiting the rights of men, it would not be an issue.

No for profit corporation should be allowed to deny some coverage from some groups based on their religious
beliefs.



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PUBLIC SUBMISSION                                                          Posted: July 13, 2015
                                                                           Tracking No. 1jy-8f14-iwhz
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7468
ID



                                     Submitter Information
Name: keli domeny
Address:
  Boise, 
ID, 
83712
Organization: NA


                                         General Comment
If companies want to make rules about covering contraception for women then they also need to stop covering
Viagra for men. Or is a man's erection more important than a women trying to be responsible about her health
care. P.S. it's none if anyone else's business.




                                                                                               381992
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7469
WA



                                      Submitter Information
Name: Linda K Lindquist
Address:
  Shoreline, 
WA, 
98177-2359
Email: rbgardener@comcast.net
Organization: National Partnership


                                         General Comment
Bosses control our standard of living, they control our waking and sleeping hours, they control the time we spend
with our families. They should have NO control over our reproductive choices. They need to stay out of our
bedrooms and out of our healthcare decisions. I am dumbfounded that this is even an issue, are they asking to
restrict access to Viagra?




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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-wc47
                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7470
WA



                                      Submitter Information
Name: Heidi Stach
Address:
  Lakewood, 
WA, 
98499
Email: karmavsdogma69@gmail.com
Organization: personal


                                          General Comment
Medical issues no matter what they are, are private. If we give employers the right to deny certain medical
practices because they do not agree it is the first step to controlling employees home and private lives.

Where will they go next? Controlling the food we eat, decor of our homes , who we associate with, our choice of
companions?
At some point big business needs to be stopped.
We are a country that thrives on freedom, freedom of speech and choice.

We fight wars to ensure these freedoms for citizens of other countries but, here in our own country we are slowly
trying to remove the very core of what we stand for.

The practice of regulating the human body is personal, I do not understand the desire to set women back 100
years.

If procedures and medications are being restricted for women than they should be restricted for men also.
If birth control is to be thrown to the wayside than men should not be covered for any type of procedure which
enhances libido or promises to enhance their sexual ability.
God has given us the right to our own bodies, our own choices. We will survive and choose our path, our
entrance into the hear after is our concern.

When God said judge not lest ye be judged he was speaking to everyone.


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                                                                        Status: Posted
PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-4jw6
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7471
NJ



                                    Submitter Information
Name: Stanley Sherman
Address:
  Clifton, 
NJ, 
07011
Email: 9stuv9@gmail.com
Organization: NA


                                        General Comment
Woman's coverage



                                            Attachments
Womans coverage




                                                                                        381995
         Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 413 of 456

I would like to see women have birth control coverage for the full range of contraceptive methods without
being subjected to co-payments under the Affordable Care Act regardless of whom their employer(s) are.
Employer's religious beliefs have no place in rescinding U.S. federal laws. For example, an employer
could form a religion, if one doesn't already exist, and argue that their religious beliefs excuse them from
paying all taxes. How ridiculous their argument is.




                                                                                               381996
         Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 414 of 456

I would like to see women have birth control coverage for the full range of contraceptive methods without
being subjected to co-payments under the Affordable Care Act regardless of whom their employer(s) are.
Employer's religious beliefs have no place in rescinding U.S. federal laws. For example, an employer
could form a religion, if one doesn't already exist, and argue that their religious beliefs excuse them from
paying all taxes. How ridiculous their argument is.




                                                                                               381997
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 415 of 456
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                                                                               Status: Posted
PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-uifx
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7472
NJ



                                       Submitter Information
Name: Mary Ann T
Address:
  Sewell, 
NJ, 
08080
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   381998
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 416 of 456
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                                                                             Status: Posted
PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-83yv
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7473
NH



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  NH, 
03581
Email: pathbg@ne.rr.con
Organization: Betty A. Gosselin


                                         General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.




                                                                                                381999
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                                                                                Status: Posted
PUBLIC SUBMISSION                                                               Posted: July 13, 2015
                                                                                Tracking No. 1jy-8f14-xg7t
                                                                                Comments Due: October 21, 2014
                                                                                Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7474
NV



                                       Submitter Information
Name: Marilen Nelson
Address:
  Reno, 
NV, 
89509
Email: rnomarilen@gmail.com
Organization: NA


                                           General Comment
Women need protection from unwanted pregnancies. I don't see Hobby Lobby offering to raise the unwanted
children so why not give it to them? Whether you like it or not it is part of health care. I'm boycotting your store
until you give it to them.




                                                                                                    382000
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 418 of 456
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-y0ub
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7475
FL



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  FL, 
32159
Organization: NA


                                          General Comment
Business owners that see medical issues as religious issues ought not be allowed to impose their views on their
own workers or the local medical workers -- even Jesus didn't pay attention to bigots and bullies, other than to
scold or exorcize




                                                                                                  382001
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 419 of 456
                                                                        As of: November 03, 2017
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                                                                        Status: Posted
PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-i6jx
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7476
MN



                                     Submitter Information
Name: Lisa Schmidt
Address:
  Hendricks, 
MN, 
56136
Email: flinnstones@hotmail.com
Organization: NA


                                         General Comment
Denying women access to birth control is inherently discriminatory.




                                                                                        382002
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                                                                        As of: November 03, 2017
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                                                                        Status: Posted
PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-c6ug
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7477
WI



                                    Submitter Information
Name: Helen Gambon
Address:
  waukesha, 
WI, 
53186
Email: helen@skyshooter.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Gambon-H_2014-10-3_23918272




                                                                                        382003
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 421 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  382004
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 422 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

helen Gambon
george hunt circle 527
waukesha, WI 53186

262 798 0350




                                                                               382005
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 423 of 456
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                                                                        Received: October 20, 2014
                                                                        Status: Posted
PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7478
NM



                                    Submitter Information
Name: Cynthia Von Hendricks
Address:
  Albuquerque, 
NM, 
87110
Email: cvh55@hotmail.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Von Hendricks-C_2014-10-3_24151631




                                                                                        382006
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 424 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  382007
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 425 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Cynthia Von Hendricks
7819 Bellamah Ave NE
Albuquerque, NM 87110




                                                                               382008
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 426 of 456
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
                                                                            Tracking No. 1jy-8f14-c6bq
                                                                            Comments Due: October 21, 2014
                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7479
OR



                                     Submitter Information
Name: John DeJarnatt
Address:
  Salem, 
OR, 
97304
Email: johndej@comcast.net
Organization: NA


                                         General Comment
The relationship between medical providers and patients should never be influenced or impacted by the religious
beliefs of anyone, particularly the employer of the patient.




                                                                                               382009
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 427 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-cgt7
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7480
ME



                                      Submitter Information
Name: Susan Wind
Address:
  Rockland, 
ME, 
04841
Email: suwind@gwi.net
Organization: NA


                                          General Comment
Women's employers have zero business realting to women's personal choices, specifically relating to birth
control. Apparently the Supreme Court has chosen to ignore a basic principle of US government, Separation of
Church and State.
there is NO Justice in having employers religious beliefs or other judgments disctate national policay regarding
healthcare for women.




                                                                                                 382010
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 428 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-cwto
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7481
NC



                                      Submitter Information
Name: Mary Longstreth
Address:
  Asheville, 
NC, 
28801
Email: mzlongstreth@gmail.com
Organization: NA


                                         General Comment
Your power to act on behalf of women's need to have the fullest protection possible regarding the healthy,
accessibility, and safe means for planning family life and birth control is exceedingly important and needed.
Please provide preventive services coverage to support care for women's bodies and family well-being in our
nation. As a licensed Social Worker I have often encountered this need among those served.




                                                                                                 382011
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 429 of 456
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PUBLIC SUBMISSION                                                        Posted: July 13, 2015
                                                                         Tracking No. 1jy-8f14-a6wg
                                                                         Comments Due: October 21, 2014
                                                                         Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7482
CO



                                    Submitter Information
Name: Wesley Duran
Address:
  Twin Lakes, 
CO, 
81251
Email: wes_duran@yahoo.com
Organization: NA


                                        General Comment
These decisions are between doctor and patient ONLY. Make that happen.




                                                                                         382012
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-lmrl
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7483
CA



                                    Submitter Information
Name: Lourdes Garcia
Address:
  Simi Valley, 
CA, 
93065
Email: LGarcia973@AOL.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Garcia-L_2014-10-6_24151682




                                                                                        382013
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 431 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  382014
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 432 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Lourdes Garcia
40 E Boulder Creek Rd
Simi Valley, CA 93065




                                                                               382015
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 433 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-2fda
                                                                             Comments Due: October 21, 2014
                                                                             Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7484
CA



                                      Submitter Information
Name: Anonymous Anonymous
Address:
  CA, 
90806
Organization: NA


                                          General Comment
Birth control is a private health issue between patient and doctor. No one else. My understanding was that
HIPPA mandated this so I don't understand why this is even being debated.




                                                                                                 382016
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 434 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-u7sq
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7485
IL



                                       Submitter Information
Name: Mady Newfield
Address:
  Saint Charles, 
IL, 
60174
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.

Thank you for your understanding and for taking my concerns into consideration.




                                                                                                   382017
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-enk1
                                                                               Comments Due: October 21, 2014
                                                                               Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7486
AZ



                                       Submitter Information
Name: thomas dunlap
Address:
  phoenix, 
AZ, 
85013
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   382018
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 436 of 456
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
                                                                          Tracking No. 1jy-8f14-noop
                                                                          Comments Due: October 21, 2014
                                                                          Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7487
MA



                                     Submitter Information
Name: Sarah Heintz
Address:
  Cambridge, 
MA, 
02139
Email: meridian4@comcast.net
Organization: NA


                                        General Comment
Please do not let Politics, with a "capitol" P, rule on needs of very real IMPORTANCE to women!!




                                                                                             382019
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 437 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7488
CO



                                       Submitter Information
Name: Arn McConnell
Address:
  Grand Junction, 
CO, 
81503
Email: amccon1@bresnan.net
Organization: NA


                                           General Comment
As a concerned citizen, I seek to comment on new proposals to amend the federal health care law requiring for-
profit corporations and non-profit organizations, or else health insurance providers, to cover preventive health
services, such as contraception, without charging a co-payment. I understand that the federal government must
craft rules regarding the contraceptive mandate that comply with the Supreme Courts decision in Burwell v.
Hobby Lobby.

In drawing its accommodations, I urge the government to be guided by the purpose behind the contraception
mandate: to ensure women have complete access to preventive care, including contraception, without co-pay. As
any accommodations place an increased burden on women who have a right under the Affordable Care Act to
quality, affordable preventive care, accommodations must be limited to the greatest possible extent permissible
by law. In regards to for-profit corporations, I request that HHS crafts its rule to limit the definition of closely
held corporations to small companies where the ownership is restricted to a limited group of individuals who
actively participate in the management of the day-to-day operations of the corporation. Thank you for
considering my comments.




                                                                                                   382020
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 438 of 456
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PUBLIC SUBMISSION                                                        Posted: July 13, 2015
                                                                         Tracking No. 1jy-8f14-64si
                                                                         Comments Due: October 21, 2014
                                                                         Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7489
CA



                                     Submitter Information
Name: James Jewell
Address:
  San Francisco, 
CA, 
94107
Email: jjewell@arch-llight.com
Organization: NA


                                         General Comment
Please provided adequate access for all women to"preventive services".




                                                                                         382021
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 439 of 456
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                                                                              Status: Posted
PUBLIC SUBMISSION                                                             Posted: July 13, 2015
                                                                              Tracking No. 1jy-8f14-vil3
                                                                              Comments Due: October 21, 2014
                                                                              Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7490
MO



                                      Submitter Information
Name: bruce Anonymous
Address:
  MO, 
65804
Email: bherdman@yahoo.com
Organization: NA


                                          General Comment
The Hobby Lobby decision should have included the withdrawal of their incorporation tax advantages. Seriously,
this is a flawed decision which Congress needs to fix. What's next? A closely held corporation declaring that
hiring minorities is against their religious beliefs? Deciding that their religion does not allow women to be in
positions of authority over men?

The goofiness must end. And soon. Women deserve complete health care from their employer, regardless of the
employer's superstitions. We need to move into the 21st century as a people, that includes all people.

I will be watching and plan on voting with this as one of my prime reasons for accepting or rejecting a candidate.




                                                                                                 382022
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
                                                                        Tracking No. 1jy-8f14-fg88
                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7491
TX



                                    Submitter Information
Name: Beth Garcia
Address:
  Alpine, 
TX, 
79830
Email: garciabeth2003@yahoo.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Garcia-B_2014-10-3_24152440




                                                                                        382023
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 441 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  382024
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 442 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Beth Garcia
801 N Orange St, #17
Alpine, TX 79830




                                                                               382025
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 443 of 456
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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
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                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7492
CO



                                      Submitter Information
Name: Kristine Blanco-Hallman
Address:
  Lakewood, 
CO, 
80214
Email: kblancohallman@gmail.com
Organization: NA


                                         General Comment
This is preposterous and an outrage. I'm 61 years old so many ships have sailed and reproduction is one of them.
However, I have not gone brain dead and don't plan on doing so. That's why Hobby Lobby will never see me
entering their "establishment" again.




                                                                                                382026
            Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 444 of 456
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PUBLIC SUBMISSION                                                           Posted: July 13, 2015
                                                                            Tracking No. 1jy-8f14-bhv7
                                                                            Comments Due: October 21, 2014
                                                                            Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7493
FL



                                      Submitter Information
Name: Leonel Picun
Address:
  Hollywood, 
FL, 
33021-4952
Email: leonelp@msn.com
Organization: NA


                                         General Comment
I fully support the coverage of contraceptive methods under regular medical plans; nobody can impose religious
believes that are strictly personal upon other individuals.
While I do respect all believes I'm convince that everybody is free of making their own decisions, even when our
personals believes might be in direct conflict, no religion should be dictating civil matters and individuals
making decisions that might be in contradiction with religious principles should face their own conscious; we
have no right to impose ourselves over them.




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PUBLIC SUBMISSION                                                            Posted: July 13, 2015
                                                                             Tracking No. 1jy-8f14-4mqz
                                                                             Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7494
ME



                                      Submitter Information
Name: Michael MacPherson
Address:
  Milbridge, 
ME, 
04658
Email: mmtigermac@yahoo.com
Organization: NA


                                          General Comment
Those who run this country including Wall Street, Banks, corporations, the rich, ALEC and the Koch Brother's
are taking a part the Constitution piece by piece in order to take all rights away from the middle class and the
poor. The budget is being balanced on the backs of the poor and middle class, when money is needed the trillion
dollars going to Wall Street, Banks, corporations, the rich, ALEC and the Koch Brother's in taxpayer's money in
the form of subsidies and the huge tax breaks to the richest people and corporations is held sacred and cannot be
touched.

These rich people and corporations want to make two classes of people the rich and the poor or in other words
the haves and the have naughts. This is where Hobby Lobby and those who run Hobby Lobby come in, they, like
their corporate brother's want to ignore the weakened Constitution and interject corporate law in it's place,
because they have the advantage of a Supreme Court with 5 right wing corporate leaning justices who ignore the
Constitution and are making laws that favor corporations, so Hobby Lobby can get away with making decisions
that involve the private lives of their employees.

Corporations have got to only deal with corporate business and only the work performance of their employees
while on the job, with nothing that has to do with their employees private business, including medical plans,
religion or anything that effects their lives once they leave the private property of those they work for.




                                                                                                 382028
             Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 446 of 456
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-sf1e
                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7495
CA



                                       Submitter Information
Name: Connie von Kohler
Address:
  West Covina, 
CA, 
91790
Email: cvonkohler@hotmail.com
Organization: NA


                                          General Comment
In the wake of the Supreme Courts harmful Hobby Lobby decision, it is critically important to me that for-profit
corporations not be allowed to deny women coverage for the full range of contraceptive methods.

Birth control is basic health care for women, and womens health care decisions should be made by women and
their health care providers, not by bosses.

I believe that every woman should have access to the contraceptive method of her choice without a copay, and I
support the Obama administrations efforts to ensure that all women have contraceptive coverage without copays,
regardless of their bosses beliefs. We need strong rules that protect womens health and that narrowly define
closely held for-profit entity.

My birth control is not my boss business. I urge the Obama administration to do all it can to ensure that all
women have coverage for the full range of contraceptive methods without copays.




                                                                                                   382029
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PUBLIC SUBMISSION                                                         Posted: July 13, 2015
                                                                          Tracking No. 1jy-8f14-77rv
                                                                          Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7496
VA



                                    Submitter Information
Name: Rebecca Hoskins
Address:
  Fredericksburg, 
VA, 
22405
Email: dhos768923@aol.com
Organization: NA


                                        General Comment
It is none of my employer s business on what me and my doctor decide to do about my health




                                                                                             382030
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PUBLIC SUBMISSION                                                             Posted: July 13, 2015
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                                                                              Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7497
VI



                                       Submitter Information
Name: jeraldine eason
Address:
  St. Thomas, 
VI, 
00804
Email: jeraldineeason@yahoo.com
Organization: NA


                                          General Comment
I think that its time these bosses (male bosses ) mostly stopped trying to tell women what to do with their bodies,
If they are so concerned about abortion why do they cover viagra, they want the men to have more sex and the
women to get all the resposibilty of pregnancy and childbirth, not to mention the great number of deadbeat dads,
so who has to take care of these viagra babies? the women, Perhaps what we need is a law that forces men to use
condoms or not have sex and fine them a lot of money if they get someone pregnant. If men only wanted to have
sex when they wanted to make a baby we would'nt have this problem but we all know thats not the case, Please
stop trying to tell others how to live and worry about your own life, remember "No man can know the mind of
God" and Judge not lest ye be judged.




                                                                                                   382031
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PUBLIC SUBMISSION                                                              Posted: July 13, 2015
                                                                               Tracking No. 1jy-8f14-9gax
                                                                               Comments Due: October 21, 2014
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Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7498
CA



                                       Submitter Information
Name: Robert Pedretti
Address:
  San Jose, 
CA, 
95125
Email: bob341@comcast.net
Organization: NA


                                          General Comment
The Hobby Lobby decision is ludicrous. For profit business has no right to impose its supposed "religious"
beliefs on its employees. Health care is a personal decision and not one that an organization should dictate.
Contraception is a medical issue and a personal decision that should be left to the individual not a corporation.
Interesting that Hobby Lobby has investments in other companies that produce birth control materials.




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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7499
AZ



                                    Submitter Information
Name: Dania Garcia
Address:
  Phoenix, 
AZ, 
85009
Email: daniagarcia98@yahoo.com
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Garcia-D_2014-10-14_26097832




                                                                                        382033
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 451 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


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  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 452 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Dania Garcia
4004 W. Coronado Rd.
Phoenix, AZ 85009




                                                                               382035
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PUBLIC SUBMISSION                                                       Posted: July 13, 2015
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                                                                        Comments Due: October 21, 2014
                                                                        Submission Type: Web

Docket: CMS-2014-0115
Certain Preventive Services; Eligible Organizations CMS-9940-P

Comment On: CMS-2014-0115-0002
Coverage of Certain Preventive Services under the Affordable Care Act

Document: CMS-2014-0115-7500
CA



                                    Submitter Information
Name: Ron Vizansky
Address:
  Oxnard, 
CA, 
93036
Email: vizaviz@earthlink.net
Organization: NA


                                        General Comment
See attached file(s)



                                            Attachments
Vizansky-R_2014-10-3_24141336




                                                                                        382036
   Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 454 of 456
Catholics for Choice

Dear Secretary Perez,

As a Catholic, I, like the majority of the 70 million Catholics in the United States, support
contraceptive coverage and religious liberty for all people, no matter where they work. I
was therefore outraged by the Supreme Court’s decision in Burwell v. Hobby Lobby, which
sided against the employees who need access to reproductive healthcare. I believe that
women are moral agents whose consciences should be respected, not trumped, by their
employers.

I am entirely against the proposed rule, which would expand the “accommodation” for
nonprofit religious organizations to include some for-profit corporations. As a Catholic, I do
not believe that any corporation should qualify for an “accommodation” for religious beliefs,
as this would amount to bestowing the right of “conscience” upon an institution. This runs
contrary to the core teachings of my Catholic faith, including the respect for individual
conscience, the call to social justice and a regard for religious pluralism.

If the departments proceed with this proposed rule, however, I ask that they begin by first
and foremost considering the employees who would be affected by that decision. These
employees’ healthcare needs and conscience rights deserve protection from interference. I
strongly urge that when the departments define which organizations are eligible for the
accommodation, they make women workers and dependents—the ones whose religious
liberty rights and healthcare needs could be harmed—the deciding factor in their decision.
If even one woman finds her conscience trumped because of the departments’ rules, that
would be one woman too many.

My Catholic faith leads me to believe that no woman should be left without the ability to
follow her conscience in deciding what is best for herself and her family, simply because of
where she works. Because of this belief, I also strongly oppose the exemption that leaves
women working for churches, dioceses and certain other religious institutions without any
required contraceptive coverage. While considering modifications to the rules for
organizations eligible for the “accommodation,” I also ask that the departments expand the
current “accommodation” for nonprofits to include currently exempted religious institutions.
As an example, there are more than 160,000 people working for Catholic parishes in the
United States. These workers include women and men, some with families and some
without. Who are we to decide which of these workers, their children or their spouses
should be left without the means to make the conscience-based decision to use
contraception?

The majority of Catholics agree with me. We support timely, seamless contraceptive
coverage for all women—not red tape and discrimination. Sixty-three percent of Catholic
voters believe that health insurance, whether private or government-run, should cover
contraception. Ninety-nine percent of sexually experienced Catholic women have used
birth control. All women need access to affordable care.

As a Catholic, I am called to show solidarity with and compassion for the poor. Expanding
access to contraception by making it more affordable will make a difference in the lives of


                                                                                  382037
  Case 2:17-cv-04540-WB Document 75-980 Filed 03/12/18 Page 455 of 456
many women and their families. For many, it already has. I urge the departments not to
stop short of the laudable goal set by the Affordable Care Act: to ensure all Americans
have access to the healthcare services they need. Every woman should be included in
these benefits. No matter where they work, all women’s human dignity, conscience rights
and religious liberty should be respected and protected. As Catholic, I ask you to ensure
that no woman worker anywhere is let down.

Sincerely,

Ron Vizansky
2071 Corto Trl
Oxnard, CA 93036




                                                                               382038
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Coverage of Certain Preventive Services under the Affordable Care Act

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CA



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                                           General Comment
As a concerned citizen, I seek to comment on new proposals to amend the federal health care law requiring for-
profit corporations and non-profit organizations, or else health insurance providers, to cover preventive health
services, such as contraception, without charging a co-payment. I understand that the federal government must
craft rules regarding the contraceptive mandate that comply with the Supreme Courts decision in Burwell v.
Hobby Lobby.

In drawing its accommodations, I urge the government to be guided by the purpose behind the contraception
mandate: to ensure women have complete access to preventive care, including contraception, without co-pay. As
any accommodations place an increased burden on women who have a right under the Affordable Care Act to
quality, affordable preventive care, accommodations must be limited to the greatest possible extent permissible
by law. In regards to for-profit corporations, I request that HHS crafts its rule to limit the definition of closely
held corporations to small companies where the ownership is restricted to a limited group of individuals who
actively participate in the management of the day-to-day operations of the corporation. Thank you for
considering my comments.




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